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           EXHIBIT 13
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  2/26/213:21 AM /Ternp/55A1722/Coffee County Data/Compact -Elanh/CF12/55A1722CE12.E11                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fiff86ee-071f-fhel-1b6f-6d0500ffea2f
  2/26/213:08 AM /Temp/5SA1722/Coffee County Data/Compact -Elash/CF12/55A1722CE12.E10                            Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fia92d0c-bb08-679c-e94a-921828c19109
  2/26/213:04 AM /Temp/55A1722/Coffee County Data/Compact -Elash/CF12/55A1722CE12.E09                            Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fic4eddl-9628-4623-b602-2353d1d90bfc
  2/26/213:02 AM /Temp/55A1722/Coffee County Data/Compact -Elanh/CF12/55A1722CE12.E08                            Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fi9ccc02-5975-cf77-febe-8b3615df3a03
  2/26/21 2:58 AM /Temp/55A1722/Coffee County Data/Compact -Elanh/CF12/SSA1722CE12.E07                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fi318e93-7df9-lfab-2c4c-084fa6afa726
  2/26/21 2:56 AM /Temp/55A1722/Coffee County Data/Compact -Elash/CF12/SSA1722CF12.E06                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fibe9003-bad3-18d6-dcc3-2ba2b946c917
  2/26/21 2:52 AM /Ternp/55A1722/Coffee County Data/Compact -Elanh/CF12/55A1722CE12.EOS                          Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fib382ca-ebcd-c363-4298-cad8bb5d4853
  2/26/21 2:50 AM /Temp/5SA1722/Coffee County Data/Compact -Elash/CF12/55A1722CE12.E04                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fieed452-117f-aehe-8a57-0132874c7f3f
  2/26/21 2:46 AM /Temp/55A1722/Coffee County Data/Compact -Elash/CF12/55A1722CE12.E03                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fi26cd3f-8e6d-0164-731e-0d929efSS1b0
  2/26/21 2:43 AM /Temp/55A1722/Coffee County Data/Compact -Elanh/CF12/55A1722CE12.E02                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fi77ba3d-ad6l-b41/-5b7a-f8c7c91a6279
  2/26/21 2:38 AM /Temp/55A1722/Coffee County Data/Compact -Elan h/CF 1/ISA 17 22 CE1. E10                       Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       ficd2dfd-a50f-7409-9a66-410518598390
  2/26/21 2:36 AM /Temp/55A1722/Coffee County Data/Compact -Flash/CF12/SSA1722CF12.smartctl.out                  Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fi985208-7324-153c-6707-cocccl bee l28
  2/26/21 2:36 AM /Ternp/55A1722/Coffee County Data/Compact -Elan h/CF 1/ISA 17 22 CF1. E09                      Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fiad5b49-Seee-ca68-1124-885d2862df73
  2/26/21 2:36 AM /Temp/5SA1722/Coffee County Data/Compact -Elash/CF12/55A1722CE12.log                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fi48b002-2a56-47f9-df23-aaefa5633807
  2/26/21 2:36 AM /Temp/55A1722/Coffee County Data/Compact -Elash/CF12/55A1722_CE12.hdparm.out                   Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fif84c78-c9c6-e90S-0186-fedbbb7afola
  2/26/21 2:36 AM /Temp/55A1722/Coffee County Data/Compact -Elanh/CF12/55A1722CE12.errorn                        Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fi7da38c-dfll-b3ea-6c9e-ca49bllcdfSb
  2/26/21 2:36 AM /Temp/55A1722/Coffee County Data/Compact -Elanh/CF12/SSA1722CE12.dmidecode                     Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fib3 3d 78-3f 78-lba 1-S 6d 4-c 1587 bb4401e
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  2/26/21 2:35 AM /Ternp/55A1722/Coffee County Data/Compact -Elan h/CF12/bad sectors                             Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fie5eee4-e656-b754-c6b0-68a747da482a
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  2/26/21 2:31 AM /Temp/55A1722/Coffee County Data/Compact -Elas h/CF 1/ISA 17 22 CE1. E08                       Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fiaab702-203e-7532-c38c-c8659a6c6229
  2/26/21 2:22 AM /Temp/55A1722/Coffee County Data/Compact -Elan h/CF 1/ISA 17 22 CE1. E07                       Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fi0e42fc-a364-lhlb-f930-4f30f4ce1942
  2/26/21 2:19 AM /Temp/55A1722/Coffee County Data/Compact -Elan h/CF 1/ISA 17 22 CE1. E06                       Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fif8b38b-3697-4d00-lflc-6ed049fbcfc6
  2/26/21 2:15 AM /Temp/55A1722/Coffee County Data/Compact -Elas h/CF 1/ISA 17 22 CF1. E05                       Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fif7ca7d-526c-4594-4dle-2bb984848016
  2/26/21 2:10 AM /Ternp/55A1722/Coffee County Data/Compact -Elan h/CF 1/ISA 17 22 CE1. E04                      Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Em 269931-d722-dbf2-c044-a7ba4efdb53 1
  2/26/21 2:08 AM /Temp/5SA1722/Coffee County Data/Compact -Elas h/CF 1/ISA 17 22 CF1. E03                       Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Em 4ff63c-0db2-5834-65fe-c45d7b0f6ca4
  2/26/21 2:04 AM /Temp/55A1722/Coffee County Data/Compact -Elas h/CF 1/ISA 17 22 CE1. E02                       Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fi38fddb-d78c-a6de-0eaS-7efdeb0ae5dd
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  2/26/21 1:49 AM /Temp/55A1722/Coffee County Data/Compact -Elanh/CF13/55A1722CE13.E1O                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fi9d48b5-dedf-bf6a-8beb-d7cee5e3c360
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  2/26/21 1:47 AM /Temp/5SA1722/Coffee County Data/Compact -Elas h/CF 1/ISA 17 22 _CFI. log                      Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Ei3a789c-8c7c-d752-4613-4b61618e1348
  2/26/21 1:47 AM /Temp/55A1722/Coffee County Data/Compact -Elash/CF13/55A1722CE13.Ell                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Ei690090-7973-d55d-5712-66907068c957
  2/26/21 1:46 AM /Temp/55A1722/Coffee County Data/Compact -Flanh/CF1/55A1722_CF1.hdparm.out                     Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Em643484-3716-b28a-labl-EcE7d2137e9E
  2/26/21 1:46 AM /Temp/55A1722/Coffee County Data/Compact -Elan h/CF 1/ISA 17 22 CF1.e rro rs                   Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fme3SfSc-9bb6-edl3-36a1-a2ec20c3aa92
  2/26/21 1:46 AM /Temp/55A1722/Coffee County Data/Compact -Flash/CF1/55A1722CF1.dmidecode                       Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fm15263e-22eE-0c73-c855-Ea9095b6ebce
  2/26/21 1:46 AM /Ternp/55A1722/Coffee County Data/Compact -Elan h/CF 1/ewE mE 0.0 ut                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Emc54e34-07Ec-79b2-30b2-b66588Eeb787
  2/26/21 1:46 AM /Temp/5SA1722/Coffee County Data/Compact -Elan h/CF 1/bad secto rs                             Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Ei129614-E6d5-7096-211e-lsbdclel9bl6
  2/26/21 1:43 AM /Temp/55A1722/Coffee County Data/Compact -Elash/CF13/55A1722CE13.E08                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Ei2cabc8-2276-laao-d304-52823023c7aa
  2/26/21 1:41 AM /Temp/55A1722/Coffee County Data/Compact -Elan h/CF 13/55A172 2CE13. E07                       Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       EmcE42ed-6bE5-a362-8879-9718e6007308
  2/26/21 1:39 AM /Temp/55A1722/Coffee County Data/Compact -Elanh/CF13/55A1722CE13.E06                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fm3cd17f-e124-23dc-5Eb0-20d15a0a5256
  2/26/21 1:33 AM /Temp/55A1722/Coffee County Data/Compact -Elanh/CF13/SSA1722CE13.E05                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Em 6da552-de49-eaE 3-37de-5dacda3 18 lOb
  2/26/21 1:32 AM /Ternp/55A1722/Coffee County Data/Compact -Elash/CE13/55A1722CE13.E04                          Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Em8Sd86E-4625-0035-eEd2-4493E66d7b1c
  2/26/21 1:28 AM /Temp/5SA1722/Coffee County Data/Compact -Elanh/CF13/55A1722CE13.E03                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Ei76eab8-1EE1-6773-3244-9e7701b78c51
  2/26/21 1:27 AM /Temp/55A1722/Coffee County Data/Compact -Elanh/CF13/55A1722CE13.E02                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Ei09598c-coll-7e93-2eE4-7deEdfc840aS
  2/26/21 1:11AM /Temp/55A1722/Coffee County Data/Compact -Elanh/CF13/55A1722CE13.dmidecode                      Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       EmdfE5E6-89a8-cE42-552E-8117326bd699
  2/26/21 1:17 AM /Temp/55A1722/Coffee County Data/Compact -Elan h/CF 13/ewE nE 0 .0 ut                          Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       fm3ae12 3-89 52-77 b6-2 c6 b-7 94 e92 73 99 e8
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  2/26/21 1:17 AM /Ternp/55A1722/Coffee County Data/Compact -Elash/CE13/55A1722CE13.errors                       Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Em486fE 1-f 134-ISa b-S 01 b-98 ad02 bed] cc
  2/26/21 1:17 AM /Temp/5SA1722/Coffee County Data/Compact -Elanh/CF13/55A1722CE13.hdparm.out                    Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Eic602bS-598d-cc44-dc28-313ecbbc4470
  2/26/21 1:17 AM /Temp/55A1722/Coffee County Data/Compact -Elan h/CF13/55A172 2_CE13. log                       Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Ei0814b3-eE88-8E89-ded4-883Ec8d6a424
  2/26/21 1:11AM /Temp/55A1722/Coffee County Data/Compact -Elanh/CF13/55A1722CE13.nmartctl.out                   Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Em31a669-83be-699c-b079-cS3E5aSa]E81
  2/26/21 1:07 AM /Temp/55A1722/Coffee County Data/Compact -Elan h/CF 15                                         Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Eo351a41-labb-4E25-947e-e2118Ee010E8
  2/25/2110:55 PM /Temp/55A1722/Coffee County Data/Compact -Elan h/CF8                                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Eoa80c00-6d07-4306-8c6a-82564b758a23
  2/25/2110:44 PM /Ternp/55A1722/Coffee County Data/Compact -Elan h/C ES                                         Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Eo7d0243-289a-4224-859b-9d709eedEceb
   2/25/219:57 PM /Temp/5SA1722/Coffee County Data/Compact -Elan h/CF4                                           Download     Conan H       c@bonfiresearch.org   ASOG      143.244.49.89   US, Overland Park, Kansas       Eo9 Ica 29-3c2]-41d0-8760-6581799aa561
   2/25/219:05 PM /Temp/55A1722/Coffee County Data/Compact -Elan h/CF3                                           Download     Conan H       c@bonfiresearch.org   ASOG      137.25.53.116   US, Los Angeles, California     Eo478c74-c90d-4764-94b1-95a33d0d799b




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2/25/216:46 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF16                                 Download     Conan H       c@bonfiresearch.org   ASOG   138.199.8.218   BE,   -   fo4eae54-43]c-414f-b55e-534bc68622cF
2/25/216:42 PM /Temp/SSA1]22/Coffee County Data/Cornpact-Flash/CF9                                 Download     Conan H       c@bonfiresearch.org   ASOG   138.199.8.218   BE,   -   fo634913-8f85-48f9-82b3-c2c]aasaffcb
2/25/216:17 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CE]                                  Download     Conan H       c@bonfiresearch.org   ASOG   138.199.8.218   BE,   -   focaeebd-ad54-4bf5-8ee]-c5]f83d65bad
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2/25/215:59 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF2                                  Download     Conan H       c@bonfiresearch.org   ASOG   138.199.8.218   BE,   -   foa96c69-6190-4990-a865-f 11cd63 14442
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2/25/213:35 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF1O                                 Download     Conan H       c@bonfiresearch.org   ASOG   138.199.8.218   BE,   -   fod46c]6-3b91-46f0-a424-eb5a8a38]c2f
2/25/213:35 PM /Temp/SSA1]22/Coffee County Data/Compact-Flash/CF14                                 Download     Conan H       c@bonfiresearch.org   ASOG   138.199.8.218   BE,   -   fob]5436-6659-429d-b64b-4df995db1449
2/25/213:34 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF17                                 Download     Conan H       c@bonfiresearch.org   ASOG   138.199.8.218   BE,   -   fo46301b-345a-4ce4-94a]-]20e43ab]69e
2/25/213:24 PM /Temp/SSA1722/Coffee County Data/EMS Server/EMS-Disk2.zip.04]                       Download     Conan H       c@bonfiresearch.org   ASOG   138.199.8.218   BE,   -   fi bc981f-69a8-fbaf-d9b9-5b133]23dedf
2/25/213:16 PM /Temp/SSA1722/Coffee County Data/EMS Server/EMS-Disk2.zip.046                       Download     Conan H       c@bonfiresearch.org   ASOG   138.199.8.218   BE,   -   fi28f334-bal]-0ad8-ba3a-a902ec]lb3bd
2/25/213:09 PM /Temp/SSA1722/Coffee County Data/EMS Server/EMS-Disk2.zip.045                       Download     Conan H       c@bonfiresearch.org   ASOG   138.199.8.218   BE,   -   h965]ca-e3el-28a8-8aac-4c046eb68eba
2/25/213:06 PM /Temp/SSA1722/Coffee County Data/EMS Server/EMS-Disk2.zip.044                       Download     Conan H       c@bonfiresearch.org   ASOG   138.199.8.218   BE,   -   fi4a4]2a-d606-]f33-f8a8-ef5f80]5106c
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2/25/213:02 PM /Temp/SSA1722/Coffee County Data/EMS Server/EMS-Disk2.zip.042                       Download     Conan H       c@bonfiresearch.org   ASOG   138.199.8.218   BE,   -   fil8]bal-9a84-blof-l6df-e8dl]fbdd6df
2/25/213:01 PM /Temp/SSA1722/Coffee County Data/EMS Server/EMS-Disk2.zip.041                       Download     Conan H       c@bonfiresearch.org   ASOG   138.199.8.218   BE,   -   fi09b36f-8855-6242-6d29-d5a43066aa89
2/25/21 2:51 PM /Temp/SSA1722/Coffee County Data/EMS Server/EMS-Disk2.zip.040                      Download     Conan H       c@bonfiresearch.org   ASOG   138.199.8.218   BE,   -   fif658a1-2016-8a8b-03c4-f8fb]a40bc25
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                                                                                                 Curling Plaintiffs' Exhibit 115, page 2 of 25
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 1/24/217:50 PM /Temp/55A1722/Coffee County Data/Forensic-Triage-Reports/Coffee-County Tabulator Triage Reports.zi p     Upload          Greg Freemyer   gfreemyer@sullivanstrickler.cow    SullivanStrickler, LLC   12.2317.106      US, Middletown, New Jersey      fi489dab-eade-0bee-bad7-d87377b0fccc
 1/24/21 7:50 PM /Ternp/5SA1722/Coffee County Data/Forensic-Triage-Reports/Coffee-County_Laptop_Triage_Reports.zip       Upload          Greg Freemyer   gfreernyer@sullivanstrickler.cow   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi b41a0a-e498-5fa9-a683-49b6c383e1bc
 1/24/217:50 PM /Temp/SSA1722/Coffee County Data/Forensic-Triage-Reports/Coffee-County-EMS-Triage-Reports.zip            Upload          Greg Freemyer   gfreemyer@sullivanstrickler.cow    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi957afb-aeof-507f-64cc-6cef4d170c62
 1/24/217:49 PM /Temp/55A1722/Coffee County Data/Forensic-Triage-Reports/Coffee-County_USft.DetectiveReports.zi p        Upload          Greg Freemyer   gfreewyer@sullivanstrickler.cow    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi9d586f-bce3-d43c-7a9c-57c3f09d2b07
 1/24/217:49 PM /Temp/55A1722/Coffee County Data/Forensic-Triage-Reports                                                 Create Folder   Greg Freemyer   gfreemyer@sullivanstrickler.cow    SullivanStrickler, LLC   12.231.1.106     US, Middletown, New Jersey      fob3c8bd-d8de-47cd-919a-4d6cec5f737c


1/19/2112:03 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fined/hold.zip.048                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi9f3953-fdab-6707-4298-f2a89d1aa268
1/19/2112:02 AM /Ternp/SSA1J22/DJL Upload/Coffee   -   EMS   -   Fined/hold.zip.047                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi 178168-509a-49a4-7lee-f94247f68eb3
1/18/2111:59 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fixed/hold.zip.046                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fibdd0b2-3e7b-7635-la2e-e5665f23585b
1/18/2111:59 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fiued/hold.zip.045                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fie9227a-ca23-6265-7aa8-03e86a7b61a8
1/18/2111:56 PM ffemp/55A1722/DJL Upload/Coffee    -   EMS   -   Fined/hold.zip.044                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi410130-df0b-d3e0-8b92-c876923749ae
1/18/2111:56 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fined/hold.zip.049                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi09ad73-6629-8470-bde8-aebb1a668a61
1/18/2111:51 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fined/hold.zip.043                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fia536da-0908-405e-a185-54dc8c2574eb
1/18/2111:42 PM /Ternp/55A1722/DJL Upload/Coffee   -   EMS   -   Fined/hold.zip.042                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi814adb-98ca-1a41-b258-3ba7c9ece604
1/18/2111:42 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fixed/hold.zip.041                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi041925-826c-3c08-ebbl-ad484251053d
1/18/2111:40 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fiued/hold.zip.040                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi59ef53-2e22-8673-8264-1a97f9c47c3e
1/18/2111:39 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fined/hold.zip.039                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi39b3ed-459d-25c8-627d-16e34f696bf2
1/18/2111:34 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fined/hold.zip.038                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi325692-8ddl-4266-bbef-b7llbdf4c92l
1/18/2111:33 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fined/hold.zip.036                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi 27e088-596a-daob-94a3-32ea63bc49c8
1/18/2111:33 PM /Ternp/55A1722/DJL Upload/Coffee   -   EMS   -   Fined/hold.zip.037                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi4e5ad8-0254-a95a-035d-57004b372433
1/18/21 11:23 PM /Temp/55A1722/DJL Upload/Coffee   -   EMS   -   Fixed/hold.zip.035                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi3ed630-2f19-778b-1780-d1e4ee3d5f2e
1/18/2111:16 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fiued/hold.zip.034                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi57ab02-1647-5da7-b18c-3b9e495c65ea
1/18/2111:14 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fined/hold.zip.033                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fidb256c-ddii-4b84-9650-ea899c58ce9c
1/18/2111:14 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fined/hold.zip.032                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fie7c1db-a66f-2503-65b5-61dfe923b50f
1/18/2111:10 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fined/hold.zip.031                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi50b688-4a4a-7445-dfbo-533b2ce4a48a
1/18/2111:09 PM /Ternp/55A1722/DJL Upload/Coffee   -   EMS   -   Fined/hold.zip.030                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi21b1b3-f62d-ed72-1206-3c2275eb3902
1/18/2110:59 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fixed/hold.zip.029                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi09158 i-f if 5-c 42e-4 19 i-97b 1ff ef d9d0
1/18/2110:57 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fiued/hold.zip.028                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi4492b6-a620-e3ad-e858-026324ed8238
1/18/2110:55 PM ffemp/55A1722/DJL Upload/Coffee    -   EMS   -   Fined/hold.zip.027                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi4doal3-5199-cdd9-iaea-efa4c1dad52f
1/18/2110:53 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fined/hold.zip.026                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fif704e3-3db8-49c3-9893-e95fccd41a0e
1/18/2110:51 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fined/hold.zip.025                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fi9daf2f-bbb6-fa42-649d-79d7400f1e60
1/18/2110:48 PM /Ternp/55A1722/DJL Upload/Coffee   -   EMS   -   Fined/hold.zip.024                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fifc899e-4d69-fd49-9017-b3586c4ca685
1/18/2110:46 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fixed/hold.zip.022                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   ficb26a9-iiae-06c3-57ea-2f9e4e0d06f1
1/18/2110:45 PM /Temp/55A1722/DJL Upload/Coffee    -   EMS   -   Fiued/hold.zip.023                                      Download        Scott T         t@bonfiresearch.org                ASOG                     198.199.105.95   US, San Francisco, California   fie6d0a8-7cfa-ffa7-3b2e-37aa81267c69




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1/18/2110:38 PM /Temp/5SA1722/DJL Upload/Coffee       -   EMS   -   Fixed/holdzip.021                       Download     Scott T       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fic1c3c9-546f-f343-2726-lalo3fc2o3cd
1/18/21.3.0:32 PM /Ternp/55A1722/DJL Upload/Coffee    -   EMS   -   Fined/holdzip.020                       Download     Scott T       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fi59e5a0-1594-cd60-2256-d4fc68bbc3ac
1/18/23.3.0:33. PM /Ternp/SSASJ22/DJL Upload/Coffee   -   EMS   -   Fixed/holdzip.059                       Download     Scott F       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fi7f8635-13f5-090e-181b-e5d3adca580e
1/18/2110:29 PM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip.018                      Download     Scott T       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fi3d8cb7-fdde-4dee-33e0-b55d89013ac8
1/18/2110:25 PM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip017                       Download     Scott T       t@bonfiresearch .
                                                                                                                                                       org   ASOG   198.199.105.95   US, San Francisco, California   fi3a9727-897b-f2el-f7e9-d34eef379830
1/18/2110:20 PM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip.016                      Download     Scott T       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fi5499e9-1032-eac8-ffoa-65cddad67fa3
1/18/2110:18 PM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/holdzip.015                       Download     Scott T       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fi0b754d-l3ab-0890-65c1-aae0b2be6d9c
1/18/2110:17 PM /Ternp/55A1722/DJL Upload/Coffee      -   EMS   -   Fined/holdzip.014                       Download     Scott T       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fi4d3462-6355-8875-81d8-106dfc2997fa
1/18/23.10:13 PM /Ternp/5501722/DJL Upload/Coffee     -   EMS   -   Fixed/holdzip.013                       Download     Scott F       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fil6sabl-c032-85c8-604e-5da4f5814bf6
1/18/2110:11 PM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip.012                      Download     Scott T       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fic0e386-0f15-8d3b-8b90-1fddd9f56490
1/18/2110:08 PM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip011                       Download     Scott T       t@bonfiresearch .
                                                                                                                                                       org   ASOG   198.199.105.95   US, San Francisco, California   fi3e4258-3be5-b0d6-cee8-e6ff7bffa2b3
1/18/2110:06 PM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip.010                      Download     Scott T       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fi9ibefl-1475-8c43-a2d5-fbf30d357c35
1/18/2110:06 PM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/holdzip.009                       Download     Scott T       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fi7d62e5-3c99-sldc-6a3f-27ec101e3bf9
1/18/21.10:02 PM /Ternp/55A1722/DJL Upload/Coffee     -   EMS   -   Fined/holdzip.007                       Download     Scott T       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fi3329ba-dd39-8721-6a36-f1254ca91128
1/18/23.3.0:02 PM /Ternp/5501722/DJL Upload/Coffee    -   EMS   -   Fixed/holdzip.008                       Download     Scott F       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fiaa68f4-65f5-23b1-c8a0-b8612512ef6e
 1/18/219:55 PM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip.006                      Download     Scott T       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fi3f70e8-907e-83b6-8a86-6ddc02b83969
 1/18/219:46 PM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip005                       Download     Scott T       t@bonfiresearch .
                                                                                                                                                       org   ASOG   198.199.105.95   US, San Francisco, California   fi3587f0-ef40-81a8-b3d0-f42a2e4fa96c
 1/18/219:45 PM /Femp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip.004                      Download     Scott T       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fi 78dd45-399f-ad57-3463-ba8059088bf7
 1/18/219:44 PM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/holdzip.003                       Download     Scott T       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fi0cb8fe-ee25-4630-92e3-860a58d87e5a
 1/18/219:42 PM /Ternp/55A1722/DJL Upload/Coffee      -   EMS   -   Fined/holdzip.002                       Download     Scott T       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fi 202caf-b443-13 lc-04fa-9dc7a2b335a2
 1/18/219:35 PM /Ternp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/holdzip.001                       Download     Scott F       t@bonfiresearch.org   ASOG   198.199.105.95   US, San Francisco, California   fi4ac5e0-2fff-8336-89b1-4f2bcl6cscfo




 1/16/219:40 AM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/holdzip.034                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi57ab02-1647-5da7-bl8c-3b9e495c65ea
 1/16/219:28 AM /Ternp/55A1722/DJL Upload/Coffee      -   EMS   -   Fined/holdzip.033                       Upload       Doug Logan    doug@fightback .
                                                                                                                                                      law           199.47.252.25    US, Plantation, Florida         fidb256c-ddll-4b84-9650-ea899c58ce9c
 1/16/219:17 AM /Ternp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/holdzip.014                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi4d3462-6355-8875-81d8-106dfc2997fa
 1/16/219:06 AM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip.007                      Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi3329ba-dd39-8721-6a36-f1254ca91128
 1/16/21 5:19 AM /Temp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/hold.zip032                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fie7cldb-a66f-2503-65b5-61dfe923b50f
 1/16/21 5:01 AM /Femp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/hold.zip.031                      Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi505688-4a4a-1445-dfbo-533b2ce4a48a
 1/16/214:57 AM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/holdzip.030                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi2lblb3-f62d-ed72-1206-3c2275eb3902
 1/16/214:43 AM /Ternp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/holdzip.029                       Upload       Doug Logan    doug@fightback .
                                                                                                                                                      law           199.47.252.25    US, Plantation, Florida         fi09158 1-f if 5-c 42e-4 19 1-97b1ff ef d9d0
 1/16/214:33 AM /Ternp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/holdzip.028                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi4492b6-a620-e3ad-e858-026324ed8238
 1/16/214:20 AM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip.027                      Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi4d0a73-5199-cdd9-7aea-efa4c1dad52f
 1/16/21 4:10 AM /Temp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/hold.zip026                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fif704e3-3db8-49c3-9893-e95fccd41a0e
 1/16/21 4:01 AM /Temp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/hold.zip.025                      Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi9daf2f-b5b6-fa42-649d-79d 1400f1e60
 1/16/213:50 AM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/holdzip.024                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fifc899e-4d69-fd49-9017-b3586c4ca685
 1/16/213:40 AM /Ternp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/holdzip.023                       Upload       Doug Logan    doug@fightback .
                                                                                                                                                      law           199.47.252.25    US, Plantation, Florida         fie6d0a8-7cfa-ffa7-3b2e-37aa81267c69


 1/16/213:30 AM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip.022                      Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         ficb26a9-llae-06c3-57ea-2f9e4e0d06f1
 1/16/21 3:18 AM /Temp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/hold.zip021                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fic1c3c9-546f-f343-2726-lalo3fc2o3cd
 1/16/21 3:05 AM /Femp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/hold.zip.020                      Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi59e5a0-1594-cd60-2256-d4fc685bc3ac
 1/16/21 2:50 AM /Temp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/holdzip.019                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi7f8635-13f5-090e-181b-e5d3adca580e
 1/16/21 2:40 AM /Ternp/55A1722/DJL Upload/Coffee     -   EMS   -   Fixed/holdzip.018                       Upload       Doug Logan    doug@fightback .
                                                                                                                                                      law           199.47.252.25    US, Plantation, Florida         fi3d8cb7-fdde-4dee-33e0-b55d89013ac8
 1/16/21 2:29 AM /Ternp/55A1722/DJL Upload/Coffee     -   EMS   -   Fixed/holdzip.017                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi3a9727-897b-f2ei-f7e9-d34eef319830
 1/16/21 2:15 AM /Temp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/hold.zip.016                      Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi5499e9-1032-eac8-ffoa-65cddad67fa3
 1/16/21 2:01 AM /Temp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/hold.zip048                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi9f3953-fdab-6707-4298-f2a89d1aa268
 1/16/21 1:45 AM /Femp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/hold.zip.047                      Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi 178168-509a-49a4-7 lee-f94247f68eb3
 1/16/21 1:31 AM /Temp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/holdzip.046                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fibdd0b2-3e7b-7635-la2e-e5665f23585b
 1/16/21 1:16 AM /Ternp/55A1722/DJL Upload/Coffee     -   EMS   -   Fixed/holdzip.045                       Upload       Doug Logan    doug@fightback .
                                                                                                                                                      law           199.47.252.25    US, Plantation, Florida         fie9227a-ca23-6265-7aa8-03e86a7b61a8
 1/16/21 1:02 AM /Ternp/55A1722/DJL Upload/Coffee     -   EMS   -   Fixed/holdzip.044                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi410130-dfob-d3e0-8592-c876923149ae
1/16/2112:47 AM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip.043                      Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fia536da-0908-405e-a185-54dc8c2574eb
1/16/2112:36 AM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip042                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi814adb-98ca-1a41-b258-3ba7c9ece604
1/16/2112:20 AM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip.041                      Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi041925-826c-3c08-ebbl-ad484251053d
1/16/2112:02 AM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/holdzip.040                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi59ef53-2e22-8673-8264-1a97f9c47c3e
1/15/21.11:49 PM /Ternp/55A1722/DJL Upload/Coffee     -   EMS   -   Fixed/holdzip.039                       Upload       Doug Logan    doug@fightback .
                                                                                                                                                      law           199.47.252.25    US, Plantation, Florida         fi39b3ed-459d-25c8-627d-16e34f696bf2
1/15/23.11:37 PM /Tewp/55A1722/DJL Upload/Coffee      -   EMS   -   Fixed/holdzip.038                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi325692-8ddi-4266-bbef-blilbdf4c92i
1/15/2111:26 PM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip.037                      Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi4e5ad8-0254-a95a-035d-57004b3 72433
1/15/2111:13 PM /Temp/55A1722/DJL Upload/Coffee       -   EMS   -   Fixed/hold.zip036                       Upload       Doug Logan    doug@fightback.law           199.47.252.25    US, Plantation, Florida         fi 27e088-596a-daob-94a3-32ea63bc49c8




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                                                                                                          Curling Plaintiffs' Exhibit 115, page 4 of 25
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1/15/2110:41 PM /Temp/5SA1722/DJL Upload/Coffee - EMS - Fixed/holdzip.035                                              Upload          Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fi3ed630-2f19-778b-1780-d1e4ee3d5f2e
1/15/21.10:26 PM /Ternp/55A1722/DJL Upload/Coffee - EMS - Fixed/holdzip.002                                            Upload          Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fi 202caf-b443-13 lc-04fa-9dc7a2b335a2
1/15/23.10:12 PM /Ternp/SSASJ22/DJL Upload/Coffee - EMS - Fixed/holdzip.001                                            Upload          Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fi4ac5e0-2fff-8336-89b1-4f2bcl6c5cfo
 1/15/219:57 PM /Temp/55A1722/DJL Upload/Coffee - EMS - Fixed/hold.zip.004                                             Upload          Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fi78dd45-399f-ad57-3463-ba8059088bf7
 1/15/219:31 PM /Temp/55A1722/DJL Upload/Coffee - EMS - Fixed/hold.zip003                                              Upload          Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fi0cb8fe-ee25-4630-92e3-860a58d87e5a
 1/15/215:09 PM /Femp/55A1722/DJL Upload/Coffee - EMS - Fixed/hold.zip.015                                             Upload          Doug Logan    doug@fightback.law                             34.231.106.188   US, Ashburn, Virginia      fiobls4d-l3ab-0890-65c1-aae0b2be6d9c
 1/15/213:36 PM /Temp/55A1722/DJL Upload/Coffee - EMS - Fixed/holdzip.013                                              Upload          Doug Logan    doug@fightback.law                             34.231.106.188   US, Ashburn, Virginia      fi165ab1-c032-85c8-604e-bda4f5814bf6
 1/15/213:04 PM /Ternp/55A1722/DJL Upload/Coffee - EMS - Fixed/holdzip.012                                             Upload          Doug Logan    doug@fightback.law                             34.231.106.188   US, Ashburn, Virginia      fic0e386-ofl5-8d3b-8b90-1fddd9f56490
 1/15/21 2:38 PM /Ternp/55A1722/DJL Upload/Coffee - EMS - Fixed/holdzip.011                                            Upload          Doug Logan    doug@fightback.law                             34.231.106.188   US, Ashburn, Virginia      fi3e4258-3be5-b0d6-cee8-e6ffibffa2b3
 1/15/21 2:03 PM /Temp/55A1722/DJL Upload/Coffee - EMS - Fixed/hold.zip.010                                            Upload          Doug Logan    doug@fightback.law                             34.231.106.188   US, Ashburn, Virginia      fi97bef1-1475-8c43-a2d5-fbf30d357c35
 1/15/21 1:27 PM /Temp/55A1722/DJL Upload/Coffee - EMS - Fixed/hold.zip009                                             Upload          Doug Logan    doug@fightback.law                             34.231.106.188   US, Ashburn, Virginia      fi7d62e5-3c99-51dc-6a3f-27ec101e3bf9
 1/15/21 1:00 PM /Femp/55A1722/DJL Upload/Coffee - EMS - Fixed/hold.zip.008                                            Upload          Doug Logan    doug@fightback.law                             34.231.106.188   US, Ashburn, Virginia      fiaa68f4-65f5-23b1-c8a0-b8612512ef6e
1/15/2110:44 AM /Temp/55A1722/DJL Upload/Coffee - EMS - Fixed/holdzip.006                                              Upload          Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fi 3f70e8-907e-83b6-8a86-6ddc02b83969
1/15/2110:32 AM /Ternp/55A1722/DJL Upload/Coffee - EMS - Fixed/holdzip.005                                             Upload          Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fi 3587f0-ef40-81a8-b3d0-f42a2e4fa96c
1/15/2110:23 AM /Temp/55A1722/DJL Upload/Coffee - EMS - Fixed/holdzip.049                                              Upload          Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fi09ad73-6629-8470-bde8-aebb1a668a61
1/15/2110:14 AM /Temp/55A1722/DJL Upload/Coffee - EMS - Fixed                                                          Create Folder   Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    foleeodc-fad4-48b4-a4af-f70bf35fe75f
1/15/2110:13 AM /Temp/55A1722/DJL Upload/Coffee - EMS                                                                  Delete Folder   Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fo19cef0-bc2a-4356-bda9-282b251fc977
 1/13/218:50 PM /Temp/55A1722/DJL Upload/Coffee - ICC/CoffeelCCzip.003                                                 Download        Conan H       c@bonfiresearch.org   ASOG                     84.17.45.15      IT, Milan, Lombardia       fi633a4f-159c-dc69-lele-0d4fed92c2bd
 1/13/218:50 PM /Temp/55A1722/DJL Upload/Coffee - ICC/CoffeelCC.zip.004                                                Download        Conan H       c@bonfiresearch.org   ASOG                     84.17.45.15      IT, Milan, Lombardia       fi95c283-a09d-987a-177d-2a58169e0c25
 1/13/218:49 PM /Temp/55A1722/DJL Upload/Coffee - ICC/CoffeelCC.zip001                                                 Download        Conan H       c@bonfiresearch.org   ASOG                     84.17.45.15      IT, Milan, Lombardia       fi4a245c-ae92-4881-b023-c69bdb556a8e
 1/13/218:49 PM /Temp/55A1722/DJL Upload/Coffee - ICC/CoffeelCC.zip.002                                                Download        Conan H       c@bonfiresearch.org   ASOG                     84.11.45.15      IT, Milan, Lombardia       fi723320-7ef6-7 100-cbdb-80808468efb8
 1/13/218:48 PM /Temp/55A1722/DJL Upload/Coffee - ICC/CoffeelCCzip.026                                                 Download        Conan H       c@bonfiresearch.org   ASOG                     84.17.45.15      IT, Milan, Lombardia       fi2d739f-9408-c6d7-ba38-a9451e33f2b8
 1/13/215:40 PM /Temp/55A1722/Coffee County Data/EMS Server                                                            Download        Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fo26d53b-13c4-4ad9-a23e-79455f7b1aea
1/13/2112:36 PM /Temp/55A1722/DJL Upload/Coffee - ICC/CoffeelCCzip.004                                                 Upload          Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fi95c283-a09d-987a-177d-2a58169e0c25
1/13/2112:33 PM /Temp/55A1722/Coffee County Data/Coffee County Ballot Images                                           Download        Jim Penrose   jim@fightback.law     Defending The Republic   45.152.182.131   '-,   -,   -               fo9d3079-18eb-43de-bbff-ca55baeaf0f4
1/13/2112:11 PM /Temp/55A1722/DJL Upload/Coffee - ICC/CoffeelCC.zip003                                                 Upload          Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fi633a4f-159c-dc69-lele-0d4fed92c2bd
1/13/2111:59 AM /Temp/55A1722/DJL Upload/Coffee - ICC/CoffeelCC.zip.002                                                Upload          Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fi723320-7ef6-7 100-cbdb-80808468efb8
1/13/2111:14 AM /Temp/55A1722/DJL Upload/Coffee - ICC/CoffeelCCzip.026                                                 Upload          Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fi2d739f-9408-c6d7-ba38-a9451e33f2b8
1/13/2111:11 AM /Temp/55A1722/DJL Upload/Coffee - ICC/CoffeelCCzip.001                                                 Upload          Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fi4a245c-ae92-4881-b023-c69bdb556a8e
1/13/2111:02 AM /Temp/55A1722/DJL Upload/Coffee - ICC                                                                  Create Folder   Doug Logan    doug@fightback.law                             199.47.252.25    US, Plantation, Florida    fo5dd599-ad06-43c5-aaeb-af15e743380b
1/12/2110:37 PM /Temp/55A1722/Coffee County Data/Coffee County Ballot Images/Runoff Ballot lmageszip                   Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi99ab68-d438-22b0-3081-0f63044c176c
 1/12/214:16 PM /Temp/55A1722/Coffee County Data/Reports/EMS Server Reportszip001                                      Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fie9d7ae-68d4-2347-1015-03ab2a7985ac
 1/12/214:04 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.dmidecode                    Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi4f3ef8-b3b7-255a-lcco-3c45939ffe92
 1/12/214:04 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.collection-drivehdparmout     Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi 4c9541-7134-ocoo-f5fa-102bec5cb4e6
 1/12/214:04 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/ewfinfoout                               Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi7ba2fb-d2lb-1a28-5bfd-2f5c436ab9a8
 1/12/214:04 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/bad_sectors                              Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fie19f91-86d3-47f7-b969-31236794f556
 1/12/214:03 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.errors                        Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi0c69ac-fb5d-c93a-2cb5-1ac6d29ad580
 1/12/214:03 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1log                           Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi05834d-d8ac-bb9f-02e6-a2afcd65bd6b
 1/12/214:03 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.hdparm.out                   Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fiddalel-cd7c-13fb-5e75-6d65d0e174e0
 1/12/214:00 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.smartctlout                   Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi27b197-1e18-5f3e-4eda-777202de2ede
 1/12/214:00 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.E21                           Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi3a4863-93b1-6efb-8123-186bb522ca4f
 1/12/213:59 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.E22                          Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fie3b319-2e49-9764-fea6-9a98 la4allfo
 1/12/213:57 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.E23                           Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   ia0b6e 1-df 48-c a8 b-9 58 4-9 Sf 3a1b 76 cab
 1/12/213:46 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1E20                           Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi40b440-855b-5785-8d2b-6f4a0b1235bc
 1/12/213:46 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.E16                          Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi3741fd-d230-3dc1-3c2e-2214966b4321
 1/12/213:46 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.E18                           Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fif30aac-dhof-e7d6-f2c4-7ecced6e04b6
 1/12/213:45 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.E17                           Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi7cadb5-1342-cS6a-a4d9-928484add242
 1/12/213:44 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.E19                          Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi 154fee-83e9-5970-8a95-0a6783868d0d
 1/12/213:35 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.E15                           Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   ficloll8-6fcc-a367-3475-bafc6d983553
 1/12/213:33 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1E13                           Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fidcce37-bb4f-cfce-4967-8821d39a1478
 1/12/213:33 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.E14                          Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi8a106a-b76b-b22b-aef9-b3a89547d3c1
 1/12/213:32 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.E12                           Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fib63aa7-flfc-fcSd-63f6-88dd9b04dd3f
 1/12/213:14 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.E10                           Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fiaa89e7-73a4-8875-9979-9a28bbb9ad00
 1/12/213:10 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.E11                          Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi4827a9-e264-dd09-4fcb-49860f6a0728
 1/12/213:10 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.E09                           Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fid74dd1-d9c6-ce9f-d18d-382bbb251f1e
 1/12/213:08 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.E08                          Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi68bd35-f46c-45e6-9bb8-d24a3ead3c75
 1/12/21 2:59 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.E07                         Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fif6f130-8106-Sdac-aSfS-3c/55d57a52b
 1/12/21 2:50 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.E06                          Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fibc2abb-267a-7cb5-Sf5f-ceec8638a1e8
 1/12/21 2:47 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.E05                          Download        Conan H       c@bonfiresearch.org   ASOG                     24.205.63.47     US, Glendale, California   fi352c8d-540b-8873-4c8c-26c6e7a94be3




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 1/12/21 2:36 PM /Temp/5SA1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/SSA1722DC1.E03                         Download          Conan H           c@bonfiresearch.org              ASOG                     24.205.63.47     US, Glendale, California        fifda352-bac8-lea9-23a4-3ec5d2b93ac7
 1/12/21 2:36 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1E04                         Download          Conan H           c@bonfiresearch.org              ASOG                     24.205.63.47     US, Glendale, California        fi0a982e-66b8-168a-4393-3558f3fa51d0
 1/12/21 2:35 PM /Temp/SSA1J22/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.E02                        Download          Conan H           c@bonfiresearch.org              ASOG                     24.205.63.47     US, Glendale, California        fi96aca9-217e-8259-257f-b4bbff38dae3
 1/12/21 2:35 PM /Temp/SSA1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/SSA1722DC1.E01                         Download          Conan H           c@bonfiresearch.org              ASOG                     24.205.63.47     US, Glendale, California        fif3f806-227a-6ef9-4c58-8bd60c734f51
1/12/2110:09 AM /Temp/55A1722/Coffee County Data/Coffee County Ballot Images/Runoff Ballot lmages.zip                 Upload            AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12231.7106       US, Middletown, New Jersey      fi99ab68-d438-22b0-3081-0f63044c176c
1/12/2110:07 AM /Temp/55A1722/Coffee County Data/Coffee County Ballot Images                                          Create Folder     A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.1.106     US, Middletown, New Jersey      fo9d3079-l8eb-43de-bbff-ca55baeaf0f4
1/12/2110:07 AM /Temp/5SA1722/Coffee County Data/Reports/EMS Server Reports.zip001                                    Upload            AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fie9d7ae-68d4-2347-1015-03ab2a7985ac
1/12/2110:03 AM /Temp/55A1722/Coffee County Data/Reports                                                              Create Folder     AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fod4f22e-8e9f-429f-a77b-flea5abafcbb
 1/11/218:25 PM /Temp/55A1722/Coffee County Data/Tabulation System                                                    Download          Doug Logan        doug@f ightback. law                                      199.47.252.25    US, Plantation, Florida         f07514ba-0361-4fd2-b702-37298f042ef4
1/11/2112:34 PM /Temp/55A1722/Coffee County Data/Thumb Drives/TDO1.zip.001                                            Upload            AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi68daa6-e8cc-a08a-67a6-b98e015a4ca2
1/11/2112:32 PM /Temp/55A1722/Coffee County Data/Thumb Drives/TD04.zip.001                                            Upload            AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fie60d88-3de2-eaco-ffe4-8da212f8126f
1/11/2112:30 PM /Temp/55A1722/Coffee County Data/Thumb Drives/TDOS.zip.001                                            Upload            A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231./.106     US, Middletown, New Jersey      fifa9fbb-/b9b-8861-2e9a-cd2212e8653b
1/11/2112:29 PM /Temp/55A1722/Coffee County Data/Thumb Drives/TD06.zip001                                             Upload            AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fid4d99d-8387-de2c-da6l-8b5ebf445365
1/11/2112:28 PM /Temp/55A1722/Coffee County Data/Thumb Drives/TD03zip001                                              Upload            AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fiff55d4-6a50-0407-448b-2bfac 266fad3
1/11/2112:27 PM /Temp/55A1722/Coffee County Data/Thumb Drives/TD02.zip001                                             Upload            AAdministrator    pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fil4fo3o-47b0-da6a-17a6-leed/030/039
1/11/2112:26 PM /Temp/55A1722/Coffee County Data/Thumb Drives/TD07.zip.001                                            Upload            AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi6160d4-9d 7c-51d2-f4dc-608f8a69f2bd
1/11/2112:26 PM /Temp/55A1722/Coffee County Data/Thumb Drives                                                         Create Folder     AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      foa3d407-bacb-46a3-99dd-fddf1a2d6af4
 1/11/219:41 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.001                                          Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi 74be43-904c-c807-8f88-58f2c542e53a
 1/11/219:37 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMSzip001                                            Upload            Doug Logan        doug@f ightback. law                                      199.47.252.25    US, Plantation, Florida         fi 74be43-904c-c807-8f88-58f2c542e53a
 1/11/219:28 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/AntrimEMSzip001                                            Delete File       Doug Logan        doug@f ightback law                                       199.47.252.25    US, Plantation, Florida         fice836d-3848-e650-7287-85f588ca2a3b
 1/11/219:28 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/AntrimEMS.zip034                                           Delete File       Doug Logan        doug@f ightback. law                                      199.47.252.25    US, Plantation, Florida         fi62lbc9-6ec8-b38c-0524-57ce2bd2142e
 1/11/219:26 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.002                                          Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fid03a8d-9122-68d0-a9ec-2edd93d7d52b
 1/11/219:26 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.004                                          Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi 1ce853-ab4e-294b-fc69-9cdbd463 b153
 1/11/219:26 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.003                                          Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi b04e/5-8536-5349-3f53-cddb4478b173
 1/11/219:25 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMSzip006                                            Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi749e05-45be-5bf9-ed88-11375b1e4d42
 1/11/219:20 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMSzip005                                            Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi5304d4-9e57-29d0-9292-3b0a8e229b26
 1/11/219:20 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMSzip007                                            Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fifa35a6-f79c-211d-5954-f8ddb009bd25
 1/11/219:18 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.008                                          Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi7e6d34-dd4b-156d-514a-50d4a410bbeb
 1/11/219:17 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.010                                          Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi5b3d9b-8d94-669e-83cd-d2ff3f384e10
 1/11/219:15 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.009                                          Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fif51d62-l3fb-23d9-8108-f6e3f61fefd4
 1/11/219:13 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/AntrimEMS.zip.034                                          Upload            Doug Logan        doug@f ightback. law                                      199.47.252.25    US, Plantation, Florida         fi621bc9-6ec8-b38c-0524-57ce2bd2142e
 1/11/219:12 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/AntrimEMS.zip.001                                          Upload            Doug Logan        doug@f ightback law                                       199.47.252.25    US, Plantation, Florida         fice836d-3848-e650-7287-85f588ca2a3b
 1/11/219:09 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.011                                          Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fie7325a-7e42-ad9/-cd53-a8ed941276c8
 1/11/219:09 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.014                                          Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fib477bd-d861-76db-a5be-ebd72575f068
 1/11/219:09 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.013                                          Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fia1968f-cef7-bb44-4eb0-fefd82e0e3d3
 1/11/219:05 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.017                                          Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi 1f303c-07c /-e946-c5c9-92d6709e77f5
 1/11/219:04 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.016                                          Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi 20ec44-4919-0a67-2ac4-38bbb7426168
 1/11/219:00 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.019                                          Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi59b62a-7ed0-6f7c-3d5b-483b3971789b
 1/11/218:59 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.020                                          Download          Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi0894fc-6bbc-a8b4-d3lf-40a6c116f1f4
 1/11/218:55 AM Download Blocked due to IP mismatch,/Temp/55A1722/DJL Upload/Coffee     -   EMS/CoffeeEMS.zip.01B     DownloadBlocked   Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi59b62a-7ed0-6f7c-3d5b-483b3971789b
 1/11/21 8:55 AM Download Blocked due to IP mismatch,/Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.01B     DownloadBlocked   Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi59b62a-7ed0-6f7c-3d5b-483b3971789b
 1/11/21 8:55 AM Download Blocked due to IP mismatch,/] emp/55A1722/DJL Upload/Coffee   -   EMS/CoffeeEMS.zip.01B     DownloadBlocked   Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi59b62a-7ed0-6flc-3d5b-483b397 1789b
 1/11/218:55 AM Download Blocked due to IP mismatch,/Temp/55A1722/DJL Upload/Coffee     -   EMS/CoffeeEMS.zip.01B     DownloadBlocked   Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi59b62a-7ed0-6f7c-3d5b-483b3971789b
 1/11/217:57 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.019                                          Download          Scott T           t@bonfiresearch.org              ASOG                     12.187.203.94    US, Torrance, California        fi 71f4c4-b0b6-4425-ca5b-3c73a08356b4
 1/11/21 7:57 AM /Temp/55A1722/DJL Upload/Coffee   -   EMS/CoffeeEMS.zip.012                                          Download          Scott T           t@bonfiresearch.org              ASOG                     12.187.203.94    US, Torrance, California        fibel5cd-daal-48fb-oe/c-2863246edf81
 1/11/217:56 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.015                                          Download          Scott T           t@bonfiresearch.org              ASOG                     12.187.203.94    US, Torrance, California        fi96df38-l8db-f70c-6bbd-9a64b38c61b4
 1/11/21 7:24 AM /Temp/55A1722/DJL Upload/Coffee   -   EMS/CoffeeEMS.zip.021                                          Download          Scott T           t@bonfiresearch.org              ASOG                     12.187.203.94    US, Torrance, California        fi0d3b97-6133-660b-5503-2330452f6710
 1/11/213:15 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.020                                          Upload            Doug Logan        doug@f ightback. law                                      199.47.252.25    US, Plantation, Florida         fi0894fc-6bbc-a8b4-d3 lf-40a6c116f1f4
 1/11/213:06 AM /Temp/55A1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.019                                          Upload            Doug Logan        doug@f ightback. law                                      199.47.252.25    US, Plantation, Florida         fi 71f4c4-b0b6-4425-ca5b-3c73a08356b4
 1/11/21 2:56 AM /Temp/55A1722/DJL Upload/Coffee   -   EMS/CoffeeEMS.zip.019                                          Upload            Doug Logan        doug@f ightback law                                       199.47.252.25    US, Plantation, Florida         fi59b62a-7ed0-6f7c-3d5b-483b3971789b
 1/11/21 2:47 AM /Temp/55A1722/DJL Upload/Coffee   -   EMS/CoffeeEMS.zip.01 -
                                                                            1                                         Upload            Doug Logan        doug@f ightback. law                                      199.47.252.25    US, Plantation, Florida         fi 1f303c-07c7-e946-c5c9-92d6709e7 /f5
 1/11/21 2:39 AM /Temp/55A1722/DJL Upload/Coffee   -   EMS/CoffeeEMS.zip.016                                          Upload            Doug Logan        doug@f ightback. law                                      199.47.252.25    US, Plantation, Florida         fi20ec44-4919-0a67-2ac4-38bbb7426168
 1/11/21 2:29 AM /Temp/55A1722/DJL Upload/Coffee   -   EMS/CoffeeEMS.zip.015                                          Upload            Doug Logan        doug@f ightback. law                                      199.47.252.25    US, Plantation, Florida         fi96df38-l8db-f70c-6bbd-9a64b38c61b4
 1/11/21 2:20 AM /Temp/55A1722/DJL Upload/Coffee   -   EMS/CoffeeEMS.zip.014                                          Upload            Doug Logan        doug@f ightback. law                                      199.47.252.25    US, Plantation, Florida         fib4llbd-d861-76db-a5be-ebd/2575f068
 1/11/21 2:10 AM /Temp/55A1722/DJL Upload/Coffee   -   EMS/CoffeeEMS.zip.013                                          Upload            Doug Logan        doug@f ightback. law                                      199.47.252.25    US, Plantation, Florida         fia1968f-cef7-bb44-4eb0-fefd82e0e3d3
 1/11/21 2:01 AM /Temp/55A1722/DJL Upload/Coffee   -   EMS/CoffeeEMS.zip.012                                          Upload            Doug Logan        doug@f ightback law                                       199.47.252.25    US, Plantation, Florida         fibelscd-daal-48fb-0e7c-2863246edf81
 1/11/21 1:52 AM /Temp/55A1722/DJL Upload/Coffee   -   EMS/CoffeeEMS.zip.011                                          Upload            Doug Logan        doug@f ightback. law                                      199.47.252.25    US, Plantation, Florida         fie7325a-7e42-ad9/-cd53-a8ed941276c8
 1/11/21 1:43 AM /Temp/55A1722/DJL Upload/Coffee   -   EMS/CoffeeEMS.zip.010                                          Upload            Doug Logan        doug@f ightback. law                                      199.47.252.25    US, Plantation, Florida         fi5b3d9b-8d94-669e-83cd-d2ff3f384e10
 1/11/21 1:34 AM /Temp/55A1722/DJL Upload/Coffee   -   EMS/CoffeeEMS.zip.009                                          Upload            Doug Logan        doug@f ightback. law                                      199.47.252.25    US, Plantation, Florida         fif51d62-l3fb-23d9-8108-f6e3f61fefd4




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                                                                                                                    Curling Plaintiffs' Exhibit 115, page 6 of 25
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 1/11/21 1:25 AM /Temp/SSA1722/DJL Upload/Coffee   -   EMS/CoffeeEMSzip008                            Upload          Doug Logan        doug@fightback.law                                        199.47.252.25    US, Plantation, Florida         fi7e6d34-dd4b-156d-514a-50d4a410bbeb
 1/11/21 1:17 AM /Temp/SSA1722/DJL Upload/Coffee   -   EMS/CoffeeEMSzip007                            Upload          Doug Logan        doug@fightback.law                                        199.47.252.25    US, Plantation, Florida         fifa35a6-f79c-211d-5954-f8ddb009bd25
 1/11/21 1:08 AM /Temp/SSA1722/DJL Upload/Coffee   -   EMS/CoffeeEMSzip006                            Upload          Doug Logan        doug@fightback.law                                        199.47.252.25    US, Plantation, Florida         fi749e05-45be-5bf9-ed88-11375b1e4d42
1/11/2112:59 AM /Temp/SSA1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.005                          Upload          Doug Logan        doug@fightback.law                                        199.47.252.25    US, Plantation, Florida         fi5304d4-9e57-29d0-9292-3b0a8e229b26
1/11/2112:45 AM /Temp/SSA1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.004                          Upload          Doug Logan        doug@fightback.law                                        199.47.252.25    US, Plantation, Florida         fi 1ce853-ab4e-294b-fc69-9cdbd463 b153
1/11/2112:31 AM /Temp/SSA1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.003                          Upload          Doug Logan        doug@fightback.law                                        199.47.252.25    US, Plantation, Florida         fi b04e75-8536-5349-3f53-cddb4478b173
1/11/2112:18 AM /Temp/SSA1722/DJL Upload/Coffee    -   EMS/CoffeeEMSzip002                            Upload          Doug Logan        doug@fightback.law                                        199.47.252.25    US, Plantation, Florida         fid03a8d-9122-68d0-a9ec-2edd93d7d52b
1/11/2112:17 AM /Temp/55A1722/Coffee County Data/Cornpact-Flash/CF1S/SSA1722CF1SE06                   Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.2317.106      US, Middletown, New Jersey      fi58c81b-b26e-143e-e0a5-534d42489a26
1/11/2112:06 AM /Ternp/SSASJ22/Coffee County Data/Cornpact-Flash/CF15/55A1722_CF1SEOS                 Upload          A Administrator   pmaggio@sullivanstriclder.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi5dfd7d-70a0-9b48-5fbb-c725bc4533ef
1/11/2112:03 AM /Temp/SSA1722/DJL Upload/Coffee    -   EMS/CoffeeEMS.zip.021                          Upload          Doug Logan        doug@fightback.law                                        199.47.252.25    US, Plantation, Florida         fi0d3b97-6133-660b-5503-2330452f6710
1/10/2111:55 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF1S/55A1722_CF1S.E04                  Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi68dlbl-9a82-5565-6bde-0e809e296897


1/10/2111:53 PM /Temp/SSA1722/DJL Upload/Coffee    -   EMS                                            Create Folder   Doug Logan        doug@fightback.law                                        199.47.252.25    US, Plantation, Florida         fol9cefo-bc2a-4356-bda9-282b251fc977
1/10/2111:44 PM /Temp/55A1722/Coffee County Data/Cornpact-Flash/CF1S/SSA1722CF1SE03                   Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi6d7lbo-6486-0215-738d-a82207e7fe11
1/10/23.11:33 PM /Ternp/SSASJ22/Coffee County Data/Cornpact-Flash/CF15/55A1722_CF1SE02                Upload          A Administrator   pmaggio@sullivanstriclder.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fib6b34f-a523-ee29-6c95-beee83555de9
1/10/2111:23 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF13/SSA1722CF13.E10                   Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi9d48b5-dedf-bf6a-8beb-d7cee5e3c360
1/1.0/2111:13 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF13/55A1722_CF13.E09                 Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fib2734f-8491-04c5-ead5-558cb9efdae7
1/3.0/2111:03 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF13/SSA1J22_CF13.E08                 Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi2cabc8-2276-laao-d304-52823023c7aa
1/10/2110:51 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF13/SSA1722CF13E07                    Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      ficf42ed-6bf5-a362-8879-9718e6007308
1/10/2110:41 PM /Temp/55A1722/Coffee County Data/Cornpact-Flash/CF13/SSA1722CF13E06                   Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi3cd17f-e124-23dc-5fb0-20d15a0a5256
1/10/23.10:30 PM /Temp/SSASJ22/Coffee County Data/Cornpact-Flash/CF13/55A1722_CF13EOS                 Upload          A Administrator   pmaggio@sullivanstriclder.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi6da552-de49-eaf3-37de-5dacda3l8lob
1/10/2110:19 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF13/SSA1722CF13.E04                   Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi85d86f-4625-0035-efd2-4493f66d7b1c
1/1.0/2110:09 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF13/55A1722_CF13.E03                 Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi76eab8-lffl-6773-3244-9e7701b78c51
 1/10/219:58 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF13/SSA1J22_CF13.E02                  Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi09598c-coll-7e93-2ef4-7defdfc840a5
 1/10/219:44 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF12/SSA1722CF12.E1O                   Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fia92d0c-bb08-679c-e94a-921828c19109
 1/10/219:33 PM /Temp/55A1722/Coffee County Data/Cornpact-Flash/CF12/SSA1722CF12.E09                  Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fic4eddl-9628-4623-b602-2353d1d90bfc
 1/10/219:24 PM /Temp/SSASJ22/Coffee County Data/Cornpact-Flash/CF12/55A1722_CF12.E08                 Upload          A Administrator   pmaggio@sullivanstriclder.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi9ccc02-5975-cfij-febe-8b3615df3a03
 1/10/219:13 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF12/SSA1722CF12.E07                   Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi318e93-7df9-lfab-2c4c-084fa6afa726
 1/10/219:03 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF12/55A1722_CF12.E06                  Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fibe9003-bad3-18d6-dcc3-2ba2b946c917
 1/10/218:52 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF12/SSA1J22_CF12.EOS                  Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fib382ca-ebcd-c363-4298-cad8bb5d4853
 1/10/218:42 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF12/55A1722CF12.E04                   Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fieed452-117f-ae5e-8a57-0132874c7f3f
 1/10/218:31 PM /Temp/55A1722/Coffee County Data/Cornpact-Flash/CF12/SSA1722CF12.E03                  Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi 26cd3f-8e6d-0164-731e-0d929ef551b0
 1/10/218:21 PM /Temp/SSASJ22/Coffee County Data/Cornpact-Flash/CF12/55A1722_CF12.E02                 Upload          A Administrator   pmaggio@sullivanstriclder.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi77ba3d-ad6l-b417-sbja-f8c7c91a6279
 1/10/218:10 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF1/SSA1722CF1.E1O                     Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      ficd2dfd-a50f-7409-9a66-410518598390
 1/10/217:59 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF1/55A1722_CF1.E09                    Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fiad5b49-5eee-ca68-1124-885d2862df73
 1/10/217:49 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.043                         Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi87db3c-9laa-f0c9-9e55-fa69f3d7 7dbd
 1/10/217:44 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Disk2.zip.042                         Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fil8lbal-9a84-bl0f-l6df-e8d17fbdd6df
 1/10/217:39 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.041                         Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi09b36f-8855-6242-6d29-d5a43066aa89
 1/10/21 7:35 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.040                        Upload          A Administrator   pmaggio@sullivanstriclder.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fif658a1-2016-8a8b-03c4-f8fb7a40bc25
 1/10/217:28 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.039                         Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      ficd2b4e-453c-98c4-oofl-14842c569e85
 1/10/217:23 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.046                         Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi28f334-bal7-0ad8-ba3a-a902ec71b3bd
 1/10/217:17 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.045                         Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi9657ca-e3el-28a8-8aac-4c046eb68eba
 1/10/217:13 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Disk2.zip.044                         Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi4a472a-d606-7f33-f8a8-ef5f8075106c
 1/10/217:08 PM /Temp/55A1722/Coffee County Data/Cornpact-Flash/CF1/55A1722CF1.E08                    Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fiaab702-203e-7532-c38c-c8659a6c6 229
 1/10/216:56 PM /Temp/55A1722/Coffee County Data/Cornpact-Flash/CF1/55A1722_CF1.E07                   Upload          A Administrator   pmaggio@sullivanstriclder.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi0e42fc-a364-751b-f930-4f30f4ce1942
 1/10/216:46 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.047                         Download        Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fi 29f6fe-e461-701f-f228-9049cc2d4da7
 1/10/216:45 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CFS/55A1722_CFS.E06                    Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fif8b38b-3697-4d00-lf7c-6ed049fbcfc6
 1/10/216:38 PM /Temp/55A1722/Coffee County Data/Tabulation System/ICP.zip.023                        Download        Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fiaclebf-945a-6757-cd78-9e7b94f7235f
 1/10/216:37 PM /Temp/55A1722/Coffee County Data/Tabulation System/ICP.zip.023                        Download        Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fiaclebf-945a-6757-cd78-9e7b94f7235f
 1/10/216:34 PM /Temp/55A1722/Coffee County Data/Tabulation Systern/ICP.zip.022                       Download        Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fia53047-aa32-3695-e428-f1ca3dba3928
 1/10/216:34 PM /Temp/55A1722/Coffee County Data/Cornpact-Flash/CF1/55A1722_CF1.EOS                   Upload          A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fif7ca7d-526c-4594-4dle-2bb984848016
 1/10/216:23 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF1/55A1722CF1.E04                     Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi 269931-d722-dbf2-c044-a7ba4efdb537
 1/10/216:12 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CFS/55A1722_CFS.E03                    Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi4ff63c-0db2-5834-65fe-c45d7b0f6ca4
 1/10/215:57 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CFS/55A1722_CFS.E02                    Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi38fddb-d78c-a6de-0ea5-7efdeb0ae5dd
 1/10/215:45 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF1/55A1722CF1.EO1                     Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fid702d8-0f2c-c7a7-clf6-308251afe714
 1/10/215:34 PM /Temp/55A1722/Coffee County Data/Cornpact-Flash/CF8/55A1722CF8.E01                    Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fi117449-ce87-3c6b-cc53-7acc0d5019ee
 1/10/215:30 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.047                         Download        Scott F           t@bonfiresearch.org              ASOG                     198.199.105.95   US, San Francisco, California   fibc981f-69a8-fbaf-d9b9-5b133723dedf
 1/10/21 5:24 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF4/55A1722CF4.E01                    Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fiacdfao-acb5-e7f8-bbf8-ce4eodlcbfda
 1/10/215:13 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CFS/55A1722_CFS.E01                    Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey      fil3b3bf-faaa-43d6-3d43-2bd7f6c43472




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                                                                                                    Curling Plaintiffs' Exhibit 115, page 7 of 25
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1/10/215:02 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE3/55A1722CE3.EOi                        Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   Ti8d4e3d-f5b5-5409-84b5-5ec9f06e5c40
1/10/214:51 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE13/55A1722CE13.Ell                      Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi690090-7973-d55d-5712-66907068c957
1/10/214:49 PM /Ternp/5S41722/Coffee County Data/Compact- Flas h/CE7/SSA 17 22 CE7.E ii                  Upload          A Administrator   pmaggio@sullivanstriclder.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi7fd7b2-defl-c998-2fc5-f90bcee97f27
1/10/214:46 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE18/55A1722CE18.Ell                      Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi799079-5940-lhbb-863a-cef9fc3b2f13
1/10/214:44 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE15/55A1722CE15.Ell                      Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fia7d530-5282-35e9-7fab-d618e7d104bb
1/10/214:42 PM /Temp/55A1722/Coffee County Data/Compact- Elan h/CE9/55A17 22 CE9 Eli                     Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi92e084-1785-527c-b2ab-546726475459
1/10/214:40 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE16/SSA1722CE16.Ell                      Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   Ti734627-7dc5-7bbb-5a9b-5fe76d5c36a0
1/10/214:38 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE3/55A1722CE3.Ell                        Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi16f1d1-d39c-523e-5198-7d3d8e14201a
1/10/214:36 PM /Ternp/5541722/Coffee County Data/Compact- Elas h/CES/SSA 17 22 CES.E ii                  Upload          A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi8f45fe-0531-f6 17-5049-947491d603aa
1/10/214:34 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE4/SSA1722CE4.Ell                        Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fiic9fha-icfa-1158-offo-15eac7b39999
1/10/214:32 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE8/55A1722CE8.E11                        Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   Ti 7edd50-4e3e-a07e-f29d-d46a16e35415
1/10/214:30 PM /Temp/55A1722/Coffee County Data/Compact- Elas h/CE 1/ISA 17 22 CE1. Eli                  Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fif05955-7ca5-87d9-23d7-264af52079c7
1/10/214:28 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE6/55A1722CE6.Ell                        Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   Ti5fe9b2-4f5c-2478-b88e-a3ce28e41c89
1/10/214:25 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE12/55A1722CE12.Eli                      Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fiff86ee-071f-f5e1-1b61-6d0500ffea2f
1/10/214:24 PM /Ternp/5541722/Coffee County Data/Compact- Elash/CE17-FAILED                              Delete Folder   AAdministrator    pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   foe36899-4dc9-4270-b376-53245f8f7d87
1/10/214:24 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE14-FAILED                               Delete Folder   AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fo7bbde5-748b-4d6e-9569-76259ce24ed9
1/10/214:24 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE11-FAILED                               Delete Folder   AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fo74ea9d-acba-435 2-bfhf-59e3d83919fa
1/10/214:24 PM /Temp/55A1722/Coffee County Data/Compact- Elan h/CE1O-EAILED                              Delete Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fosola3f-7670-4a84-a8b6-886326440aaa
1/10/214:24 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE2/55A1722CE2.Ell                        Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   Ti 5a33ac-955d-1947-ofdd-456d24fc4c7e
1/10/214:21 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE9/55A1722CE9.hdparrn.out                Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fiae5b72-e041-3bad-7285-bf57df87ef7e
1/10/214:21 PM /Ternp/5541722/Coffee County Data/Compact- Elash/CE16/55A1722_CE16.hdparrn.out            Upload          A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi7695c5-3af2-odid-c41a-e5e4f929c5e1
1/10/214:21 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE13/ewfinfo.out                          Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi3ae123-8952-77b6-2c6b-794e927399e8
1/10/214:21 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE18/ewfinfo.out                          Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   ficd24f0-f29f-691e-c3a4-b037a0ed0684
1/10/214:21 PM /Temp/55A1722/Coffee County Data/Compact- Elan h/CE6/ewfinfo.out                          Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi8a4d 73-d399-340e-99e5-6e799be755c1
1/10/214:21 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE2/ewfinfo.out                           Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   Ti27dTad-9fd3-3f78-7c4b-72fee9bcab53
1/10/214:21 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE8/ewfinfo.out                           Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fiaa2189-3a96-8433-92e2-1da7d171b291
1/10/214:21 PM /Ternp/5541722/Coffee County Data/Compact- Elan h/CES/ewfinfo.out                         Upload          A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi639762-c056-ac8c-d9e4-8fc857ec9a2c
1/10/214:21 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE16/ewfinfo.out                          Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fie2d1a0-f6ba-71f4-9da1-5b47fbfd34d2
1/10/214:21 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE4/ewfinfo.out                           Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi935742-8b47-9c6a-17fd-63d69ea0be2f
1/10/214:21 PM /Temp/55A1722/Coffee County Data/Compact- Elan h/CE1S/ewfinfo.out                         Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi2e0e65-96dd-2540-e257-ba634d79f329
1/10/214:21 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE9/ewfinfo.out                           Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   Ti221084-8738-f2e6-d8be-b92489447677
1/10/214:21 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE3/ewfinfo.out                           Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fif587f8-5f13-5a33-2b7a-69b550e31014
1/10/214:21 PM /Ternp/5541722/Coffee County Data/Compact- Elan h/CE12/ewfinfo.out                        Upload          A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   Ti be0033-153b-c42b-9de7-76e6fT2e43a5
1/10/214:21 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE7/ewfinfo.out                           Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi78481d-690a-3452-ada5-87e5d3708748
1/10/214:21 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE1/ewfinfo.out                           Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fic54e34-071c-79b2-30b2-b66588feb787
1/10/214:21 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE6/55A1722_CE6.hdparrn.out               Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   ficfs5ds-b9e2-b42a-5c08-276882b905c7
1/10/214:21 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE8/55A1722CE8.hdparm.out                 Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   Ti0cc415-70f8-e61e-5484-bac1784fb615
1/10/214:21 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE7/55A1722CE7.hdparrn.out                Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi527564-aaca-c8a2-9676-bd5a574f00ce
1/10/214:21 PM /Ternp/5541722/Coffee County Data/Compact- Elash/CE4/55A1722_CE4.hdparrn.out              Upload          A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi8f9610-85a8-41e6-6802-58e49e7a1f5d
1/10/214:21 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE15/55A1722CE15.hdparm.out               Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi9b21e9-2247-dhdf-9c37-8a0c10951043
1/10/214:21 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE14-EAILED/55A1722_CE14.hdparm.out       Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi3ba3db-d34c-16ec-b27f-4fd43707fc09
1/10/214:21 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE11-EAILED/55A1722_CE11.hdparm.out       Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi3501fa-el 25-52d9-5253-7d45f5f653ec
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CElO-EAILED/55A1722CE10.hdparm.out        Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   Ti 57457f-d815-2e28-0c56-f1b9e6ec7fb5
1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE17/CE17.log                             Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi3703bf-c557-e131-94ba-a5d56144ab1e
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE14/CE14.log                             Upload          A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi733725-23d1-0b94-dldc-78eeca281da9
1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE11/CE11.log                             Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi325b6a-30d9-ee6d-5d03-f71148a64dc8
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE1O/CE1O.log                             Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fifa9255-a484-c5ac-d261-1a85c9b14c1e
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CES/55A1722_CES.hdparrn.out               Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fiee2769-f333-4cel-7eaa-08cb9cb46397
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE3/55A1722CE3.hdparm.out                 Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   Ti658T76-7c10-03aa-699b-5980718ccc32
1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE2/55A1722CE2.hdparrn.out                Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi2b407b-6318-b38d-5f29-c4ffcd076d17
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE18/55A1722_CE18.hdparrn.out             Upload          A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi89156e-2b87-53e5-56fd-41657bccdd23
1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE17-EAILED/55A1722CE17.hdparm.out        Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi89cd06-0364-0305-8c87-a0f81ceb13e9
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE13/55A1722_CE13.hdparrn.out             Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fic602b5-598d-cc44-dc28-313ecbbc4470
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE12/55A1722_CE12.hdparrn.out             Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fif84c78-c9c6-e905-0186-fed5bb7af01a
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE1/55A1722CE1.hdparm.out                 Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   Ti643484-3716-b28a-1ab7-fcT7d2i37e9f
1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE9/55A1722CE9.smartctl.out               Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   Ti 7838e5-86e1-4f7e-8247-0a9b5516036e
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE8/55A1722CE8.smartctl.out               Upload          A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi3b1f5e-6017-d776-f206-c8f65d9ee71b
1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE7/55A1722CE7.smartctl.out               Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi16e948-128f-310b-9d71-02955fT4896f
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE6/55A1722CE6.smartctl.out               Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fie792e0-8d90-5d16-50af-5a0290798707




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1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE5/55A1722CE5.smartctl.out                 Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.2317.106    US, Middletown, New Jersey   fi8d7bcd-6ldd-f58e-6ab1-294e321b75d8
1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE4/55A1722CE4.smartctl.out                 Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi 20c735-c320-2c47-ab6c-97ec5566a7 2c
1/10/214:20 PM /Ternp/SSA1J22/Coffee County Data/Compact- Elan h/CE3/SSA 17 22 CE3.sma rtctl.out           Upload       A Administrator   pmaggio@sullivanstriclder.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fife03ea-cocd-8d13-68b9-e0ce1f323dd6
1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elas h/CE 2/SSA 17 22 CE2.sma rtctl.o ut          Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi60b7bf-6023-a725-918e-c2cf488194a2
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE18/SSA1722CE18.smartctl.out               Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fifa8dd 2-b63a-7b3e-a4d1-e3cb18b85744
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE17-EAILED/SSA1J22CE17.srnartctl.out       Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi 2648b0-e691-e4ba-ea66-1a4b301f7aa9
1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE16/SSA1722CE16.smartctl.out               Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi4b3e7c-bd8d-799d-c026-e4b60502807b
1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE15/55A1722CE15.smartctl.out               Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi784791-4561-b2e5-fd04-147dd97124b2
1/10/214:20 PM /Ternp/SSA1J22/Coffee County Data/Compact- Elash/CE14-EAILED/SSA1722CE14.srnartctl.out      Upload       A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi8348b6-5d56-2d06-de4e-ef66c6ad4490
1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE13/SSA1722CE13.smartctl.out               Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi31a669-83be-699c-b079-c53f5a5a7f81
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE12/SSA1722CE12.smartctl.out               Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi985208-7324-153c-6707-c0ccc1bee128
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE11-EAILED/SSA1722CE11.srnartctl.out       Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi 2cc4a9-cdeb-8895-0955-07c36e8f49c8
1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE1O-EAILED/55A1722CE10.srnartctl.out       Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fia46dd5-74d6-224f-53ab-c699b2018928
1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elas h/CE 1/ISA 17 22 CE1.sma rtctl.o ut          Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fif72833-f99f-4055-c882-68be84b599d5
1/10/214:20 PM /Ternp/SSA1J22/Coffee County Data/Compact- Elan h/CE18/55A172 2_CE18. log                   Upload       A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fie78735-16e6-f2fa-db37-cb0be1884a6c
1/10/214:20 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE17-EAILED/SSA1722CE17.Iog                 Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fidf765f-f7ef-6734-12f1-fbc3c87e1d22
1/10/214:20 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE16/55A1722_CE16.log                       Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi 1e6ee8-b1f5-4fb8-326a-94604654ebf8
1/10/214:19 PM /Temp/55A1722/Coffee County Data/Compact- Elan h/CE1S/SSA1J2 2_CEll, log                    Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi16e521-1814-aac3-ocic-247338c4642f
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE14-EAILED/55A1722CE14.log                 Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi50a857-4eb2-7ec4-f3cd-2ed6abd09f1b
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE13/SSA1722CE13.log                        Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi0814b3-ef88-8f89-ded4-883fc8d6a424
1/10/214:19 PM /Ternp/SSA1J22/Coffee County Data/Compact- Elash/CE12/55A1722CE12.log                       Upload       A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi48b002-2a56-47f9-df23-aaefa5633807
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE11-EAILED/55A1722CE11.log                 Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi6b7f3c-eb90-85fc-a91f-81eee5b165b5
1/10/214:19 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE10-EAILED/55A1722_CE10.log                Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi0459e0-2377-83ce-c8da-a6819e650d32
1/10/214:19 PM /Temp/55A1722/Coffee County Data/Compact- Elan h/CE9/55A17 22 CE9 log                       Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fiaf8050-9c67-6a7f-c750-d01103f6be22
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE8/55A1722CE8.log                          Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fia4ff6a-cc69-a4fa-a7ab-0351c4f5f699
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE7/55A1722CE7.log                          Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi0d2669-5018-601c-888f-19071caaaf9f
1/10/214:19 PM /Ternp/SSA1J22/Coffee County Data/Compact- Elan h/CE6/SSA 17 22_CE6. log                    Upload       A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi0c3dee-lola-7341-732b-27681fc07c65
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CES/55A1722CE5.log                          Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi8b000a-8d2c-ec27-2b99-c321f1ac7066
1/10/214:19 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE4/55A1722_CE4.log                         Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fif88179-3556-b158-8796-8fe0532a0d79
1/10/214:19 PM /Temp/55A1722/Coffee County Data/Compact- Elan h/CE3/55A17 22_CE3 log                       Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fia4cc15-846f-1727-388a-b1f21e027107
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE2/55A1722CE2.log                          Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fic00484-2686-471e-6ee0-6ed31f9a4ac6
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE1/55A1722CE1.log                          Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi3a789c-8c7c-d752-4613-4b61618e1348
1/10/214:19 PM /Ternp/SSA1J22/Coffee County Data/Compact- Elan h/CE9/SSA 17 22 CE9.dm idecode              Upload       A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi48c 7cc-b99f-da73-883c-772ced4561ae
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE8/55A1722CE8.dmidecode                    Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi135243-9191-15f8-3ffa-6aaba78dba14
1/10/214:19 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE7/55A1722CE7.drnidecode                   Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi6e18d3-9340-7234-c38c-b14692a6aec7
1/10/214:19 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE6/55A1722CE6.drnidecode                   Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi90a14b-6d1d-fcdl-bdfl-7d492c45656c
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE5/55A1722CE5.dmidecode                    Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   file2fbe-6ad4-906c-6713-537c782bd7c3
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE4/55A1722CE4.dmidecode                    Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi820480-ad28-c820-fbcl-161f8ea43970
1/10/214:19 PM /Ternp/SSA1J22/Coffee County Data/Compact- Elan h/CE3/SSA 17 22 CE3.dm idecode              Upload       A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi 26a940-3ac6-a440-4304-dc8184242663
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE2/55A1722CE2.dmidecode                    Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi078c93-olle-08e1-d166-f3004f26ccfb
1/10/214:19 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE18/55A1722CE18.dmidecode                  Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi1cb07d-Sfea-c0d5-oalb-c2f68972dd6c
1/10/214:19 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE17-EAILED/55A1722CE17.drnidecode          Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fidoi3lc-31f6-d48d-683f-4edeb570386e
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE16/55A1722CE16.dmidecode                  Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fidf5b6e-411d-1409-e873-22a1c6368042
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE15/55A1722CE15.drnidecode                 Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fid54c65-a9f3-efe9-5578-87ac5f7fd42c
1/10/214:19 PM /Temp/SSA1J22/Coffee County Data/Compact- Elash/CE14-EAILED/55A1722CE14.drnidecode          Upload       A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi3d2038-c4af-3417-89f9-253f9323a6d1
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE13/55A1722CE13.dmidecode                  Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fidff5f6-89a8-cf42-552f-8717326bd699
1/10/214:19 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE12/55A1722CE12.dmidecode                  Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fib33d78-3f78-lbal-56d4-e1587bb4401e
1/10/214:19 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE11-EAILED/55A1722CE11.drnidecode          Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi25270c-6333-a140-5bad-d79d9798f949
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE1O-EAILED/55A1722CE10.dmidecode           Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fieclf8d-81f9-30e5-031c-5db60f60ab57
1/10/214:19 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE1/55A1722CE1.dmidecode                    Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi15263e-22ef-0c73-c855-fa9095b6ebce
1/10/214:18 PM /Temp/SSA1J22/Coffee County Data/Compact- Elan h/CE9/SSA 17 22 CE9.errors                   Upload       A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12,231.7,106   US, Middletown, New Jersey   fi6946ef-865f-ea43-5882-32077de5cde4
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE8/55A1722CE8.errors                       Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231,7.106   US, Middletown, New Jersey   fi 4dec4b-386a-9ac8-ffoc-550780894141
1/10/214:18 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE7/55A1722CE7.errors                       Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231,7.106   US, Middletown, New Jersey   fi4ce689-6177-dad8-fcef-8bedaa1d7f3c
1/10/214:18 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE6/55A1722CE6.errors                       Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231,7.106   US, Middletown, New Jersey   fie0e63f-0468-lofa-af78-cf0a0e432 lbb
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE5/55A1722CE5.errors                       Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12,231.7,106   US, Middletown, New Jersey   fi690ab2-e408-8c39-7189-33bcf30469c7
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE4/55A1722CE4.errors                       Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12,231.7,106   US, Middletown, New Jersey   ficc159f-35de-c34e-clfc-3b5299800a4f
1/10/214:18 PM /Temp/SSA1J22/Coffee County Data/Compact- Elash/CE3/55A1722CE3.errors                       Upload       A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12,231.7,106   US, Middletown, New Jersey   fi7c8b02-9660-88e7-5a96-6d35e852e296
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Compact- Elash/CE2/55A1722CE2.errors                       Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231,7.106   US, Middletown, New Jersey   fi bd4a3e-c208-8805-9f66-aaefbc496ced
1/10/214:18 PM /Temp/55A1722/Coffee County Data/Compact- Elash/CE18/55A1722CE18.errors                     Upload       A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231,7.106   US, Middletown, New Jersey   fi 152dc5-218b-daee-4638-cabf1b674006




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1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF16/SSA1722CF16errors                   Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.2317.106      US, Middletown, New Jersey   fie25c32-4c5a-cl7c-e849-S1db70b93954
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Cornpact-Fash/CF15/SSA1722CF15errors                   Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi139e bo-4 b3 4-337 b-8 29 3-7 2c3 8c767 b91
1/10/214:18 PM /Temp/5S41722/Coffee County Data/Cornpact-Flash/CF13/55A1722_CF13errors                 Upload          A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi486ff 7-f 134-ISa b-S 01 b-98 ad02 bed] cc
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF12/SSA1722CF12.errors                  Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi7da38c-dfll-b3ea-6c9e-ca49bllcdfhb
1/10/214:18 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF1/55A1722_CF1errors                    Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fie35f5c-9bb6-ed73-36a1-a2ec20c3aa92
1/10/214:18 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF9/bad_sectors                          Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi846ee3-99d 1-4655-]fcf-]200e2c50f01
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF8/bad sectors                          Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   ficd44el-43a4-c9cl-398f-a21d3ee7f93e
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF7/bad sectors                          Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi 561550-fa38-da03-8047-65445fe0b5b0
1/10/214:18 PM /Temp/SSA1J22/Coffee County Data/Cornpact-Flash/CF6/bad_sectors                         Upload          A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fia3l2ad-7721-2d18-216f-9a]486]c8ca2
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF5/bad sectors                          Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   filoa6co-c8f3-967d-blbd-f512Sf11288f
1/10/214:18 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF4/bad_sectors                          Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi ]e9740-9ffa-c483-e859-54e0f]f51421
1/10/214:18 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF3/bad_sectors                          Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fie08c]5-284d-8ebd-50af-c56eccd12]9 7
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF2/bad sectors                          Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi639b0f-d40f-13c6-cec3-3a83]8c4e266
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Cornpact-Flash/CF18/bad sectors                        Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi8886fa-d284-8843-2449-e3]8c4ecfO23
1/10/214:18 PM /Temp/SSA1J22/Coffee County Data/Cornpact-Flash/CF17-FAl LED/ewfinfo.out                Upload          A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   ficb4545-3c23-ba]4-4db2-]89]2a1483a3
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF17-FAl LED/bad sectors                 Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi8edc]b-8c22-65]8-19f3-481be698]9f5
1/10/214:18 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF16/bad sectors                         Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi ldc5df-dee8-39fd-lbfe-018390fac9f0
1/10/214:18 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF1S/bad_sectors                         Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fif865d3-3fc5-a5c6-dbcc-b5e52ee2aaa2
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF14-FAI LED/ewfinfo.out                 Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fibbeJ3e-d6f6-03b5-8802-ff4d9f930]a8
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Cornpact-Flash/CF14-FAI LED/bad sectors                Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi442f84-6dd7-5]]5-e524-d81f4c06ae]1
1/10/214:18 PM /Temp/SSA1722/Coffee County Data/Cornpact-Flash/CF13/bad_sectors                        Upload          A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi]ccea6-6575-2cac-7489-133f6df6]bel
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF12/bad sectors                         Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fie5eee4-e656-b]54-c6b0-68a747da482a
1/10/214:17 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF11-FAl LED/ewfinfo.out                 Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi6aedb5-5317-]432-41e0-fol04ofb54af
1/10/214:17 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF11-FAl LED/bad_sectors                 Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi3bcfe2-]4b4-4a98-95c]-f657eedd0934
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF1O-FAI LED/ewfinfo.out                 Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi]affb9-8]fo-a]85-3590-4]4e0aae2961
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Cornpact-Flash/CF10-FAI LED/bad_sectors                Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fib]3a56-fe92-70b4-cd2c-db532]4a1c46
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Cornpact-Flash/CF1/bad_sectors                         Upload          A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi129614-f6d5-7096-211e-l5bdc]el9b]6
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF9                                      Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fo634913-8f85-48f9-82b3-c2c7aa5affcb
1/10/214:17 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF8                                      Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   foa80c00-6d0]-4306-8c6a-82564b758a23
1/10/214:17 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CFJ                                      Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   focaeebd-ad54-4bf5-8ee7-ch]f83d65bad
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF6                                      Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fo5flf23-e489-4d58-9664-b32]cf0b35bf
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Cornpact-Flash/CF5                                     Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fo]d0243-289a-4224-859b-9d709eedfceb
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Cornpact-Flash/CF4                                     Create Folder   A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   f091ca29-3c2]-41d0-8]60-6581799aa561
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF3                                      Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fo4]8c]4-c90d-4]64-94b1-95a33d0d799b
1/10/214:17 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF2                                      Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   foa96c69-6190-4990-a865-f 1]cd63 14442
1/10/214:17 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF18                                     Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   f0ee1639-2f05-4acl-92da-40da8864bb4a
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF17-FAI LED                             Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   foe36899-4dc9-42]0-b376-S324bf8f]d87
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Cornpact-Flash/CF17                                    Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fo46301b-345a-4ce4-94a7-]20e43ab]69e
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Cornpact-Flash/CF16                                    Create Folder   A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fo4eae54-437c-414f-b55e-534bc68622cf
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF1S                                     Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fo3bla4l-labb-4f25-947e-e2ll8feolof8
1/10/214:17 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF14-FAl LED                             Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fo7bbde5-748b-4d6e-9569-]6259ce24ed9
1/10/214:17 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF14                                     Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fob]5436-6659-429d-b64b-4df995db1449
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF13                                     Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   foba4664-2a3b-469e-b854-d4b469c4e8e7
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Cornpact-Flash/CF12                                    Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fo08d18 2-42 18-4024-ad 24-4f d29 b46 2682
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Cornpact-Flash/CF11-FAILED                             Create Folder   A Administrator   pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   foi4ea9d-acba-4352-bfhf-59e3d83919fa
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CF11                                     Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fo46c265-6lfb-4ad4-al4c-c9fa2ob8ffll
1/10/214:17 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF10-FAl LED                             Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fo5ola3f-]670-4a84-a8b6-886326440aaa
1/10/214:17 PM /Temp/55A1722/Coffee County Data/Compact-Flash/CF10                                     Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fod46c76-3b91-46f0-a424-eb5a8a38]c2f
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Compact-Flash/CFI                                      Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fo3sl6bc-7843-4cc0-98]3-88c15f]d9c2e
1/10/214:17 PM /Temp/SSA1722/Coffee County Data/Compact-Flash                                          Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fo3eb9af-f5e7-4b64-b82d-d04ebbd8c603
1/10/21 2:39 PM /Temp/SSA1722/Coffee County Data/EMS Server/EMS-Disk2.zip.038                          Download        Conan H           c@bonfiresearch.org              ASOG                     143.244.50.170   US, Overland Park, Kansas    fifcaf8f-5982-a52e-0e72-33]4368]c642
1/10/21 2:38 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.037                          Download        Conan H           c@bonfiresearch.org              ASOG                     143.244.50.170   US, Overland Park, Kansas    fi52af5d-507e-2cbf-5fdd-e529a70f4fc8
1/10/21 2:38 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.047                          Download        Conan H           c@bonfiresearch.org              ASOG                     143.244.50.170   US, Overland Park, Kansas    fibc98lf-69a8-fbaf-d9b9-5b133]23dedf
1/10/21 2:34 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.035                          Download        Conan H           c@bonfiresearch.org              ASOG                     143.244.50.170   US, Overland Park, Kansas    fiba0db8-cdld-9fbd-33a]-9e8e28]9d83c
1/10/21 2:34 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.031                          Download        Conan H           c@bonfiresearch.org              ASOG                     143.244.50.170   US, Overland Park, Kansas    fi]d214e-54c9-c446-d433-c6384bb9b5ac
1/10/21 2:34 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.036                          Download        Conan H           c@bonfiresearch.org              ASOG                     143.244.50.170   US, Overland Park, Kansas    fi18dc64-51]8-7lfa-4a05-a8f6986b234c
1/10/21 2:33 PM /Temp/5541722/Coffee County Data/EMS Server/EMS-Disk2.zip.033                          Download        Conan H           c@bonfiresearch.org              ASOG                     143.244.50.170   US, Overland Park, Kansas    fi]0ebd4-4ldf-7aa8-5d13-e8adbbfa4fia
1/10/21 2:33 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.032                          Download        Conan H           c@bonfiresearch.org              ASOG                     143.244.50.170   US, Overland Park, Kansas    filS8f]e-foaf-lfab-a52]-564a30]80bc5
1/10/21 2:33 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.034                          Download        Conan H           c@bonfiresearch.org              ASOG                     143.244.50.170   US, Overland Park, Kansas    fi6blfc9-3543-d95a-f365-6a]6a59e2600




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1/10/21 2:26 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2zp027                           Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.170   US, Overland Park, Kansas    fi6045ac-3437-a035-4a2e-9eb60bfc39e8
1/10/21 2:26 PM /Temp/5S41722/Coffee County Data/EMS Server/EMS-Disk2.zp029                          Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.170   US, Overland Park, Kansas    fi60c196-adcf-f05f-5e52-3lco4alldd4f
1/10/21 2:26 PM /Temp/SSA1722/Coffee County Data/EMS Server/EMS-Disk2.zip.026                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.170   US, Overland Park, Kansas    fib11453-a58b-cb35-5bf8-bd9facd5122f
1/10/21 2:26 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.028                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.170   US, Overland Park, Kansas    fi46a8f3-e4fe-a150-f074-5fc12591629f
1/10/21 2:22 PM /Temp/55A1722/Coffee County Data/EMS 5erver/EMS-Disk2.zip.023                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.170   US, Overland Park, Kansas    fi0a5eb7-c792-c63a-467a-7f3a55af53f6
1/10/21 2:22 PM /Temp/5SA1722/Coffee County Data/EMS 5erner/EMS-Disk2.zip025                         Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.170   US, Overland Park, Kansas    fi0cfa40-6418-8155-461c-e44bd52b74e2
1/10/21 2:22 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2zip022                          Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.170   US, Overland Park, Kansas    fi 39c73f-1e86-b6f4-4b 2b-a0b9b432a693
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1/10/21 2:22 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.021                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.170   US, Overland Park, Kansas    fic925bf-be27-43df-18f3-f97118e0b6f8
1/10/21 2:15 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.018                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.170   US, Overland Park, Kansas    fi7cf ba 1-047 a-c35 1-069 0-001 bfd Sb5 771
1/10/21 2:15 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.019                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.170   US, Overland Park, Kansas    fidc96a2-ce5f-278c-69eb-89ff26e7efba
1/10/21 2:15 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Disk2.zip020                         Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.170   US, Overland Park, Kansas    fill23ao-30bc-07c1-f252-2e0d863fc088
1/10/21 2:15 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2zip016                          Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.170   US, Overland Park, Kansas    fife685a-2121-lcea-7d78-9cbc5f162817
1/10/21 2:14 PM /Ternp/5541722/Coffee County Data/Dominion-Supplied-Laptop/DCS/55A1722_DC1.E05       Upload       AAdministrator   pwaggio@sullivanstrickler.cow   SullivanStrickler, LLC   12.2317.106      US, Middletown, New Jersey   fi352c8d-540b-88 73-4c8c-26c6e7a94be3
1/10/21 2:14 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.015                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.170   US, Overland Park, Kansas    ficc78ad-706c-9a26-b947-d5240a5c53af
1/10/21 2:13 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.017                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.170   US, Overland Park, Kansas    fidfb39b-dcco-637d-2ba8-47510de09c0c
1/10/21 2:06 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.009                        Download     Doug Logan       doug@f ightback. law                                     199.47.252.25    US, Plantation, Florida      fid7 26 ac-f cc 4-eff 5-2 ld 0-788 fO02 0d6 22
1/10/21 2:05 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Disk2.zip027                         Download     Doug Logan       doug@f ightback. law                                     199.47.252.25    US, Plantation, Florida      fi6045ac-3437-a035-4a2e-9eb60bfc39e8
1/10/21 2:04 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DCS/55A1722_DC1E16         Upload       AAdwinistrator   pwaggio@sullivanstrickler.cow   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi374lfd-d230-3dcl-3c2e-2214966b4321
1/10/21 2:02 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Disk2.zip013                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.49    US, Overland Park, Kansas    fi26400e-19c2-b4b9-634d-72f902dac79e
1/10/21 2:02 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.010                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.49    US, Overland Park, Kansas    fif0a05c-3fa7-517b-e926-16b31c328f53
1/10/21 2:02 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.014                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.49    US, Overland Park, Kansas    fic3a099-9aal-64ad-3582-ba466b54ca2f
1/10/21 2:02 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.012                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.49    US, Overland Park, Kansas    fi 2e44cc-f3e8-6e9d-7e46-8f588d815fd2
1/10/21 2:02 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Disk2.zip011                         Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.49    US, Overland Park, Kansas    fi7c0f26-7370-c251-485a-3243eb161f63
1/10/21 2:01 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2zip008                          Download     Doug Logan       doug@f ightback. law                                     199.47.252.25    US, Plantation, Florida      fifca34l-al6d-b9a4-288e-l8sll66eebed
1/10/21 2:01 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Disk2.zip006                        Download     Doug Logan       doug@f ghtback. law                                      199.47.252.25    US, Plantation, Florida      fifbe38c-3893-113c-ccle-0e6262930e29
1/10/21 1:59 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.031                        Download     Doug Logan       doug@f ghtback. law                                      199.47.252.25    US, Plantation, Florida      fi 7d214e-54c9-c446-d433-c6384bb9b5ac
1/10/21 1:59 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.005                        Download     Doug Logan       doug@f ightback. law                                     199.47.252.25    US, Plantation, Florida      fie957a4-8701-03a7-fa55-682d82e50663
1/10/21 1:58 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.012                        Download     Doug Logan       doug@f ightback. law                                     199.47.252.25    US, Plantation, Florida      fi 2e44cc-f3e8-6e9d-7e46-8f588d815fd2
1/10/21 1:56 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Disk2.zip025                         Download     Doug Logan       doug@f ightback. law                                     199.47.252.25    US, Plantation, Florida      fi0cfa40-6418-8155-461c-e44bd52b74e2
1/10/21 1:56 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2zip010                          Download     Doug Logan       doug@f ightback. law                                     199.47.252.25    US, Plantation, Florida      fif0a05c-3fa7-517b-e926-16b31c328f53
1/10/21 1:56 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Disk2.zip007                        Download     Doug Logan       doug@f ghtback. law                                      199.47.252.25    US, Plantation, Florida      fi6ed5bb-965d-10e3-dfdb-0427177f9c28
1/10/21 1:54 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.038                        Download     Doug Logan       doug@f ghtback. law                                      199.47.252.25    US, Plantation, Florida      fifcaf8f-5982-a52e-0e72-33743687c642
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1/10/21 1:54 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.019                        Download     Doug Logan       doug@f ightback. law                                     199.47.252.25    US, Plantation, Florida      fidc96a2-ce5f-278c-69eb-89ff26e7efba
1/10/21 1:52 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.E20         Upload       AAdwinistrator   pwaggio@sullivanstrickler.cow   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi40b440-855b-5785-8d2b-6f4a0b1235bc
1/10/21 1:51 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2zip013                          Download     Doug Logan       doug@f ightback. law                                     199.47.252.25    US, Plantation, Florida      fi26400e-19c2-b4b9-634d-72f902dac79e
1/10/21 1:48 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Disk2.zip008                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.49    US, Overland Park, Kansas    fifca34l-al6d-b9a4-288e-l8sll66eebed
1/10/21 1:48 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.006                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.49    US, Overland Park, Kansas    fifbe38c-3893-113c-ccle-0e6262930e29
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1/10/21 1:47 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.007                        Download     Conan H          c@bonfiresearch.org             ASOG                     143.244.50.49    US, Overland Park, Kansas    fi6edbbb-965d-10e3-dfdb-0427177f9c28
1/10/21 1:47 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Disk2.zip.022                       Download     Doug Logan       doug@f ghtback. law                                      199.47.252.25    US, Plantation, Florida      fi39c 73f-1e86-56f4-4b2b-a0b9b432a693
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1/10/21 1:43 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.021                        Download     Doug Logan       doug@f ightback. law                                     199.47.252.25    US, Plantation, Florida      fic925bf-be27-43df-18f3-f97118e0b6f8
1/10/21 1:42 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Disk2.zip.017                       Download     Doug Logan       doug@f ghtback. law                                      199.47.252.25    US, Plantation, Florida      fidfb39b-dcco-637d-2ba8-47510de09c0c
1/10/21 1:42 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.E17         Upload       AAdwinistrator   pwaggio@sullivanstrickler.cow   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi7cadb5-1342-c56a-a4d9-928484add 242
1/10/21 1:31 PM /Temp/55A1722/Coffee County Data/Dorvinion-Supplied-Laptop/DC1/55A1722DC1.E14        Upload       AAdwinistrator   pwaggio@sullivanstrickler.cow   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fi8alo6a-b76b-b22b-aef9-b3a89547d3c1
1/10/21 1:27 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.003                        Download     Conan H          c@bonfiresearch.org             ASOG                     24.205.63.47     US, Glendale, California     fidbsibl-2ff2-a9eb-a67a-f2852b277cf0
1/10/21 1:27 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.001                        Download     Conan H          c@bonfiresearch.org             ASOG                     24.205.63.47     US, Glendale, California     ficdd548-9876-ea4b-ofda-04b8583acefe
1/10/21 1:27 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.004                        Download     Conan H          c@bonfiresearch.org             ASOG                     24.205.63.47     US, Glendale, California     fib84720-5f69-0506-965d-aa872564cd3d
1/10/21 1:27 PM /Tewp/5541722/Coffee County Data/EMS Server/EMS-Disk2.zip.002                        Download     Conan H          c@bonfiresearch.org             ASOG                     24.205.63.47     US, Glendale, California     fif513fc-4872-a594-ice0-fdd916b89d49
1/10/21 1:26 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.047                        Download     Conan H          c@bonfiresearch.org             ASOG                     24.205.63.47     US, Glendale, California     fi 29f6fe-e461-701f-f228-9049cc2d4da7
1/10/21 1:21 PM /Temp/55A1722/Coffee County Data/Dowinion-Supplied-Laptop/DC1/55A1722DC1.E18         Upload       AAdwinistrator   pwaggio@sullivanstrickler.cow   SullivanStrickler, LLC   12.231.7.106     US, Middletown, New Jersey   fif30aac-d50f-e7d6-f2c4-7ecced6e04b6




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                                                                                                  Curling Plaintiffs' Exhibit 115, page 11 of 25
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 1/10/21 1:10 PM /Temp/5SA1722/Coffee County Data/Domnion-Supplied-Laptop/DC1/SSA1722DC1.E15                                Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.2317.106     US, Middletown, New Jersey   ficloll8-6fcc-a367-3475-bafc6d983553
 1/10/21 1:00 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2zp017                                                 Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      fidfb39b-dcco-63 7d-2ba8-47510de09c0c
1/10/2112:59 PM /Ternp/SSA1J22/Coffee County Data/EMS Server/EMS-Disk2.zp026                                                Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      fibll4s3-a58b-cb35-5bf8-bd9facdsl22f
1/10/2112:59 PM /Temp/SSA1722/Coffee County Data/EMS Server/EMS-Disk2.zp.023                                                Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      fi0a5eb7-c792-c63a-467a-7f3ab5af53f6
1/10/2112:59 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.018                                               Download        Doug Logan        doug@F ightback. law                                      199.47.252.25   US, Plantation, Florida      fi7cfbal-047a-c351-0690-001bfd5b5771
1/10/2112:56 PM /Temp/55A1722/Coffee County Data/Dorninion-supplied-Laptop/DC1/5541722_DC1.E12                              Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.1.106    US, Middletown, New Jersey   fib63aa/-flfc-fc5d-63f6-88dd9b04dd3f
1/10/2112:50 PM /Temp/5SA1722/Coffee County Data/EMS serner/EMS-Disk2.zip003                                                Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      fidb57b1-2ff2-a9eb-a67a-f2B52b277cf0
1/10/2112:48 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2zip002                                                 Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      fif513fc-4872-a594-7ce0-fdd916b89d49
1/10/23.12:47 PM /Temp/5541122/Coffee County Data/EMS Server/EMS-Disk2.zip001                                               Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      ficdd548-9876-ea4b-ofda-0468583acefe
1/10/2112:46 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.029                                               Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      fi60c196-adcf-f05f-be52-3lco4alldd4f
1/10/2112:46 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.034                                               Download        Doug Logan        doug@F ightback. law                                      199.47.252.25   US, Plantation, Florida      fi6b7fc9-3543-d95a-f365-6a76a59e2600
1/10/2112:46 PM /Temp/SSA1J22/Coffee County Data/EMS Server/EMS-Disk2.zip.036                                               Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      fi 18dc64-51/8-77fa-4a05-a8f6986b234c
1/10/2112:43 PM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/SSA1722DC1.E07                                Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fif6f130-8106-5dac-a5f5-3c755d57a52b
1/10/2112:42 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2zip014                                                 Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      fic3a099-9aal-64ad-3582-ba466b54ca2f
1/10/23.12:39 PM /Temp/5541122/Coffee County Data/EMS Server/EMS-Disk2.zip030                                               Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      fidd0ee2-a80/-8ba0-1e27-5ee94592be53
1/10/2112:36 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.033                                               Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      fi70ebd4-4ldf-7aaB-5d13-e8adbbfa4f7a
1/10/2112:36 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.028                                               Download        Doug Logan        doug@F ightback. law                                      199.47.252.25   US, Plantation, Florida      fi46a8f3-e4fe-a150-f074-5fc12591629f
1/10/2112:32 PM /Temp/55A1722/Coffee County Data/Dorninion-Supplied-Laptop/DC1/5541722_DC1.E19                              Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231./.106    US, Middletown, New Jersey   fi 154fee-83e9-5970-8a95-0a6783868d0d
1/10/2112:25 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Disk2.zip035                                                Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      fibaodbB-cdld-9fbd-33a7-9e8e2879d83c
1/10/2112:21 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2zip037                                                 Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      fi52af5d-507e-2cbf-5fdd-e529a70f4fc8
1/10/23.12:21 PM /Temp/55A1122/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.E06                              Upload          AAdministrator    pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fi bc2ab6-267a-7c65-5f5f-ceec8638a1e8
1/10/2112:17 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.032                                               Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      fi158f7e-foaf-lfab-a527-564a30780bc5
1/10/2112:10 PM /Temp/55A1722/Coffee County Data/Dorninion-Supplied-Laptop/DC1/55A1722DC1.E13                               Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fidcce37-bb4f-cfce-4967-8821d39a 1478
1/3.0/2112:00 PM /Temp/55A1722/Coffee County Data/Dorninion-Supplied-Laptop/DC1/55A1722_DC1.E09                             Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231./.106    US, Middletown, New Jersey   fid74dd1-d9c6-ce9f-dl8d-3826bb251f1e
1/10/2111:50 AM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/SSA1722DC1.E08                                Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fi68bd35-f46c-45e6-9bb8-d24a3ead3c75
1/10/2111:41 AM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.047                                               Download        Doug Logan        doug@f ightback. law                                      199.47.252.25   US, Plantation, Florida      fibc981f-69a8-fbaf-d9b9-5b133723dedf
1/10/2111:39 AM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.E01                               Upload          AAdministrator    pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fif3f806-22/a-6ef9-4c58-8bd60c734f51
1/10/2111:27 AM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.E10                                Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fiaa89e7-73a4-8875-9979-9a28bbb9ad00
1/10/2111:17 AM /Temp/55A1722/Coffee County Data/Dorninion-Supplied-Laptop/DC1/55A1722DC1.E04                               Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fi0a982e-66b8-168a-4393-3558f3fa51d0
1/10/2111:07 AM /Temp/55A1722/Coffee County Data/Dorninion-Supplied-Laptop/DC1/55A1722_DC1.E03                              Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231./.106    US, Middletown, New Jersey   fifda352-bac8-lea9-23a4-3ec5d2b93ac7
1/10/2110:57 AM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/SSA1722DC1.E02                                Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fi96aca9-217e-8259-257f-b4bbff38dae3
1/10/2110:46 AM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.E11                               Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fi4827a9-e264-dd09-4fcb-49860f6a07 28
1/10/2110:36 AM /Ternp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.E21                              Upload          AAdministrator    pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fi3a4863-93b1-6ef6-8123-186b6522ca4f
1/10/2110:26 AM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722DC1.E22                                Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fie3b319-2e49-9764-fea6-9a981a4a17f0
1/10/2110:15 AM /Temp/55A1722/Coffee County Data/Dorninion-Supplied-Laptop/DC1/55A1722DC1.E23                               Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fiaob6el-df48-ca8b-9584-95f3a1b76cab
1/10/2110:07 AM /Temp/55A1722/Coffee County Data/Dorninion-Supplied-Laptop/DC1/55A1722_DC1.drnidecode                       Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231./.106    US, Middletown, New Jersey   fi4f3ef8-b367-255a-lcco-3c459391fe92
1/10/2110:07 AM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/SSA1722DC1.srnartctl.out                      Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fi27b197-1e18-5f3e-4eda-777202de2ede
1/10/2110:07 AM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/55A1722_DC1.hdparrn.out                       Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fidda7e7-cd7c-l3fb-5e75-6d65d0e174e0
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1/10/2110:07 AM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1/ewfinfo.out                                   Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fi7ba2fb-d2lb-1a28-5bfd-2f5c436ab9a8
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1/10/2110:07 AM /Temp/55A1722/Coffee County Data/Dominion-Supplied-Laptop/DC1                                               Create Folder   AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106    US, Middletown, New Jersey   fo06d56b-lblb-4a87-84d2-53d4e0ed38e6
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1/10/2112:15 AM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.023                            Download        Doug Logan        doug@f ightback. law                                      199.47.252.25     US, Plantation, Florida         fi03745b-6a59-c69d-d831-39a767a3052a
1/10/2112:15 AM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.024                            Download        Doug Logan        doug@f ightback. law                                      199.47.252.25     US, Plantation, Florida         fi6f3c95-ad 7d-5f23-3c9b-074686a97521
1/10/2112:06 AM /Temp/5SA1722/Coffee County Data/EMS Server/EMS-Diskl.zip022                             Download        Doug Logan        doug@f ightback. law                                      199.47.252.25     US, Plantation, Florida         fiad4bc9-2c17-99d7-4e9d-1e96967c8f86
1/10/2112:05 AM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disklzip018                              Download        Doug Logan        doug@f ightback law                                       199.47.252.25     US, Plantation, Florida         fib0d187-8d3a-a05d-2709-e4c766fallbl
1/10/2112:00 AM /Ternp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip026                            Download        Doug Logan        doug@f ightback. law                                      199.47.252.25     US, Plantation, Florida         fiab654c-0784-b2de-376d-fc36c6c08ae3
 1/9/2111:57 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.027                            Download        Doug Logan        doug@f ightback. law                                      199.47.252.25     US, Plantation, Florida         fif98b79-01f5-3b67-ab68-797097bb7eb9
 1/9/2111:52 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.025                            Download        Doug Logan        doug@f ightback. law                                      199.47.252.25     US, Plantation, Florida         fibS 5904-77 2c-0bd9-b053-f 96a89e06a 17
 1/9/2111:38 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.028                            Download        Doug Logan        doug@f ightback. law                                      199.47.252.25     US, Plantation, Florida         fi2lef9o-756a-bddo-8978-5c704ab9f617
 1/9/2111:38 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.031                            Download        Doug Logan        doug@f ightback. law                                      199.47.252.25     US, Plantation, Florida         fif54c7e-3683-5c38-f083-9aef42bf1a03
 1/9/2111:35 PM /Temp/55A1722/Coffee County Data/Tabulation Systern/ICP.zip.023                          Upload          AAdwinistrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.2317.106       US, Middletown, New Jersey      fiaclebf-945a-6757-cd78-9e7b94f7 23Sf
 1/9/23.11:30 PM /Ternp/55A1722/Coffee County Data/Tabulation System/lCP.zip.022                         Upload          AAdministrator    pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fia53047-aa32-3695-e428-f1ca3dba3928
 1/9/2111:27 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.008                            Download        Scott T           t@bonfiresearch.org              ASOG                     212.102.41.11     IT, Florence, Toscana           fi247fc5-aac6-eadc-dcb6-249a6bbbf6b5
 1/9/2111:26 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.006                            Download        Scott T           t@bonfiresearch.org              ASOG                     212.102.41.11     IT, Florence, Toscana           fif123a5-c9bl-ccc2-0d38-dd645bdac19e
 1/9/2111:26 PM /Temp/55A1722/Coffee County Data/Tabulation System/lCP.zip.021                           Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi6e267f-dc8c-lbab-16b0-54196854f174
 1/9/2111:25 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.007                            Download        Scott T           t@bonfiresearch.org              ASOG                     212.102.41.11     IT, Florence, Toscana           fia9df38-edSf-9dld-92c8-dfe7887b55ac
 1/9/2111:25 PM /Temp/55A1722/Coffee County Data/EMS Server                                              Download        Scott T           t@bonfiresearch.org              ASOG                     212.102.41.11     IT, Florence, Toscana           fo26d53b-13c4-4ad9-a23e-79455f7b1aea
 1/9/2111:24 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.004                            Download        Scott 1           t@bonfiresearch.org              ASOG                     212.102.41.11     IT, Florence, Toscana           fi9ddcf8-87f2-d27e-875a-e65ad741c3b4
 1/9/2111:24 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.005                            Download        Scott T           t@bonfiresearch.org              ASOG                     212.102.41.11     IT, Florence, Toscana           fi278aae-1f63-2be7-cdae-00d2738d8a91
 1/9/2111:20 PM /Temp/55A1722/Coffee County Data/Tabulation System/lCP.zip.020                           Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi64e7c5-38b2-d5f3-3044-e3727323dfac
 1/9/2111:15 PM /Temp/55A1722/Coffee County Data/Tabulation System/lCP.zip.019                           Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fif95b5d-8024-f018-4ad6-b79467726cca
 1/9/2111:14 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.001                            Download        Scott T           t@bonfiresearch.org              ASOG                     212.102.41.11     IT, Florence, Toscana           fi3ed057-fla3-84de-064f-78543397d888
 1/9/2111:10 PM /Temp/55A1722/Coffee County Data/Tabulation Systern/ICP.zip.018                          Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fif53329-88f0-1b72-313c-ee4b17a7cbe6
 1/9/23.11:05 PM /Temp/55A1722/Coffee County Data/Tabulation System/lCP.zip.017                          Upload          AAdministrator    pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi50635e-aafl-d20f-la8e-87cad4dca0de
 1/9/2111:00 PM /Temp/55A1722/Coffee County Data/Tabulation System/lCP.zip.016                           Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fid52290-1746-de06-lc7b-c3ff095b4ee3
 1/9/2110:55 PM /Temp/55A1722/Coffee County Data/Tabulation System/lCP.zip.015                           Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fibflcSS-9730-lcbb-a2cd-f5df84d89007
 1/9/2110:51 PM /Temp/55A1722/Coffee County Data/Tabulation System/lCP.zip.014                           Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi 1609e5-31 b3-fSfa-f425-f75e24f32ae0
 1/9/2110:46 PM /Temp/55A1722/Coffee County Data/Tabulation System/ICP.zip.013                           Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi857176-57f8-0cSb-73e0-cll4bb7Sccl8
 1/9/2110:40 PM /Temp/55A1722/Coffee County Data/Tabulation Systern/ICP.zip.012                          Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      ficedloe-b805-0696-a019-a7ea0300dd75
 1/9/23.10:37 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.030                           Download        Doug Logan        doug@f ightback. law                                      199.47 .252 .25   US, Plantation, Florida         fid43074-f807-b983-8e2d-c9328e3aaacf
 1/9/2110:35 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.029                            Download        Doug Logan        doug@f ightback. law                                      199.47 .252 .25   US, Plantation, Florida         ficf4884-a073-afe3-63bf-8fdda0f3576a
 1/9/2110:34 PM /Temp/55A1722/Coffee County Data/Tabulation System/lCP.zip.011                           Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi lid 2l2-4689-6d32-6d98-91abeb8dc796
 1/9/2110:29 PM /Temp/55A1722/Coffee County Data/Tabulation System/lCP.zip.010                           Upload          A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi6f6eff-d232-52ed-3d6b-b45e0575f1ed
 1/9/2110:24 PM /Temp/55A1722/Coffee County Data/Tabulation System/ICP.zip.009                           Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi71a078-aea9-ofcl-dSca-982b768771dc
 1/9/2110:19 PM /Temp/55A1722/Coffee County Data/Tabulation Systern/ICP.zip.008                          Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi2d8b27-76cb-6lae-a038-b5d3b6598ad9
 1/9/23.10:14 PM /Ternp/55A1722/Coffee County Data/Tabulation System/lCP.zip.007                         Upload          AAdministrator    pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi00f499-019c-705b-4e5d-45adc601fe8d
 1/9/2110:13 PM /Temp/55A1722/Coffee County Data/Polling-Pads                                            Download        Scott T           t@bonfiresearch.org              ASOG                     198.199.105.95    US, San Francisco, California   fo308707-3c7e-4224-b60e-e8b241ea8d55
 1/9/2110:08 PM /Temp/55A1722/Coffee County Data/Tabulation System/lCP.zip.006                           Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi6b33c8-aa4d-8d09-18f2-40555682465a
 1/9/2110:07 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.032                            Download        Doug Logan        doug@f ightback. law                                      199.47.252.25     US, Plantation, Florida         fic19453-aa8c-3207-bba5-3ed32190affd
 1/9/2110:03 PM /Temp/55A1722/Coffee County Data/Tabulation System/ICP.zip.005                           Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fiff3da9-8c59-2455-92f2-86a98a4a2937
 1/9/2110:03 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.033                            Download        Doug Logan        doug@f ightback law                                       199.47.252.25     US, Plantation, Florida         fi9e8473-230c-62d7-0969-a6e2874f2664
 1/9/23.10:03 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.034                           Download        Doug Logan        doug@f ightback. law                                      199.47 .252 .25   US, Plantation, Florida         ficdda68-bebf-106a-0Scb-cd880901ffea
  1/9/219:58 PM /Temp/55A1722/Coffee County Data/Tabulation System/lCP.zip.004                           Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fillo2bd-b4ee-3786-d044-aeba5181cfa7
  1/9/219:53 PM /Temp/55A1722/Coffee County Data/Tabulation System/lCP.zip.003                           Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fid0f938-20f7-7c44-dcb9-311142cc0572
  1/9/219:53 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.035                            Download        Doug Logan        doug@f ightback. law                                      199.47.252.25     US, Plantation, Florida         fi4b9b66-7293-d226-0af9-9454b2df5159
  1/9/219:50 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.037                            Download        Doug Logan        doug@f ightback. law                                      199.47.252.25     US, Plantation, Florida         fiefdc28-aa63-ff73-5ec9-d8d6882935fa
  1/9/219:50 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.038                            Download        Doug Logan        doug@f ightback law                                       199.47.252.25     US, Plantation, Florida         fialabfb-8f38-4088-f665-77cbeba0538c
  1/9/219:48 PM /Ternp/55A1722/Coffee County Data/Tabulation System/lCP.zip.002                          Upload          AAdministrator    pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi 181da8-fifl-a3lf-8bld-fea247b8 lfa2
  1/9/219:43 PM /Temp/55A1722/Coffee County Data/Tabulation System/lCP.zip.001                           Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi84dec1-5dc6-caf7-44b0-a5c6f8c3af54
  1/9/219:37 PM /Temp/55A1722/Coffee County Data/Polling-Pads/Coffee County Polling Pads.z P.
                                                                                            001          Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fid6827d-c680-4b0f-402d-70ccaf967020
  1/9/219:36 PM /Temp/55A1722/Coffee County Data/Polling-Pads                                            Create Folder   A Administrator   pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      f0308707-3c7e-4224-b60e-e8b241ea8d55
  1/9/219:36 PM /Temp/55A1722/Coffee County Data/Tabulation System/ICP.zip.024                           Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fia268a5-bcbl-076c-9bbc-06872403e025
  1/9/219:33 PM /Temp/55A1722/Coffee County Data/Tabulation System                                       Create Folder   AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fo7514ba-0361-4fd2-b702-37298f042ef4
  1/9/219:19 PM /Ternp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.038                           Upload          AAdministrator    pmaggio@sullivanstricicler.com   SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fifcaf8f-5982-a52e-0e72-33743687c642
  1/9/219:14 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.037                            Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi52af5d-507e-2cbf-Sfdd-e529a70f4fc8
  1/9/219:09 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.036                            Upload          AAdministrator    pmaggio@sullivanstrickler.com    SullivanStrickler, LLC   12.231.7.106      US, Middletown, New Jersey      fi18dc64-5178-77fa-4a05-a8f6986b234c




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                                                                                                      Curling Plaintiffs' Exhibit 115, page 14 of 25
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1/9/219:03 PM /Temp/5SA1722/Coffee County Data/EMS serner/EMS-Disk2.zip035                          Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.2317.106    US, Middletown, New Jersey   fi ba0d b8-cdld-9fbd-33a7-9e8e2879d83c
1/9/218:58 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2zip034                           Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi6b7fc9-3543-d95a-f365-6a76a59e2600
1/9/218:53 PM /Temp/SSASJ22/Coffee County Data/EMS Server/EMS-Disk2.zip033                          Upload       A Administrator   pmaggio@sullivanstriclder.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fiioebd4-4ldf-7aa8-5d13-e8adb6fa4f7a
1/9/218:48 PM /Temp/SSA1722/Coffee County Data/EMS Server/EMS-Disk2.zip.032                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi158f7e-foaf-lfab-a527-564a30780bc5
1/9/218:42 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.031                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi 7d214e-54c9-c446-d433-c6384bb9b5ac
1/9/218:38 PM /Temp/55A1722/Coffee County Data/EMS 5erver/EMS-Disk2.zip.030                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fidd0ee2-a807-85a0-1e2 7-5ee945926e53
1/9/218:32 PM /Temp/5SA1722/Coffee County Data/EMS 5erner/EMS-Disk2.zip029                          Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi60c196-adcf-f05f-be52-3lco4alldd4f
1/9/218:27 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.028                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi46a8f3-e4fe-a150-f074-5fc12591629f
1/9/218:22 PM /Temp/5541722/Coffee County Data/EMS Server/EMS-Disk2.zip.027                         Upload       A Administrator   pmaggio@sullivanstriclder.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi6045ac-3437-a035-4a2e-9eb60bfc39e8
1/9/218:17 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.026                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fib11453-a58b-cb35-5bf8-bd9facd5122f
1/9/218:12 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.025                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi0cfa40-6418-8155-461c-e44bd52b74e2
1/9/218:01 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.024                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi9ce09d-9e9d-f6el-fei2-661c6a6bcaa3
1/9/217:56 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Disk2.zip.023                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi0a5eb7-c792-c63a-467a-7f3ab5af53f6
1/9/217:51 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.022                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi 39c73f-1e86-b6f4-4b 2b-a0b9b432a693
1/9/21 7:46 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Disk2.zip.021                       Upload       A Administrator   pmaggio@sullivanstriclder.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fic925bf-be27-43df-18f3-f97118e066f8
1/9/217:41 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.020                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fill23ao-30bc-07c1-f252-2e0d863fc088
1/9/217:36 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.019                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fidc96a2-ce5f-278c-69eb-89ff26e7efba
1/9/217:31 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.018                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi icfbal-047a-c351-0690-oolbfdsbsiil
1/9/217:25 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Disk2.zip.017                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fidfb39b-dcco-637d-2ba8-47510de09c0c
1/9/217:20 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.016                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fife685a-2121-lcea-7d78-9cbc5f162817
1/9/21 7:14 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Disk2.zip.015                       Upload       A Administrator   pmaggio@sullivanstriclder.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   ficc78ad-706c-9a26-6947-d5240a5c53af
1/9/217:09 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.014                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fic3a099-9aal-64ad-3582-ba466b54ca2f
1/9/217:04 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.013                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi26400e-19c2-b4b9-634d-72f902dac79e
1/9/216:58 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.012                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi 2e44cc-f3e8-6e9d-7e46-8f688d815fd2
1/9/216:53 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Disk2.zip.011                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi7c0f26-7370-c251-485a-3243eb161f63
1/9/216:48 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.010                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fif0a05c-3fa7-517b-e926-16b31c328f53
1/9/216:40 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Disk2.zip.009                        Upload       A Administrator   pmaggio@sullivanstriclder.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fid726ae-fee4-eff5-21d0-788f0020d622
1/9/216:35 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.008                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fifca341-al6d-b9a4-288e-l85ll66eebed
1/9/216:29 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.007                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi6edbbb-965d-10e3-dfdb-0427177f9c28
1/9/216:24 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.006                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fif5e38c-3893-113c-ccle-0e6262930e29
1/9/216:18 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Disk2.zip.005                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fie957a4-8701-03a7-fa55-682d82e50663
1/9/216:13 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.004                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fib84720-5f69-0506-965d-aa872564cd3d
1/9/216:08 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Disk2.zip.003                        Upload       A Administrator   pmaggio@sullivanstriclder.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fidbsibl-2ff2-a9eb-a6ia-f2852b277cf0
1/9/216:02 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.002                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fif513fc-4872-a594-7ce0-fdd916b89d49
1/9/215:55 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.001                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   ficdd 548-9876-ea4b-ofda-04b8583acefe
1/9/215:50 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.046                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fiec2a49-45cc-3lca-a979-50cf7f84811c
1/9/215:45 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Diskl.zip.045                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fiae9fd5-8e8d-4850-4e76-13ae1dc96f3a
1/9/215:40 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.044                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fid67abc-30f6-556d-a327-l659flbebfdl
1/9/215:35 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Diskl.zip.043                        Upload       A Administrator   pmaggio@sullivanstriclder.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi58 bd ed-S 4d 2-232 b-2 35 6-f 7d 9d3 lb9d 37
1/9/215:29 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.042                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi 79acca-cc4b-c93c-687f-faf2c16896ca
1/9/215:24 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.041                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fic36bd3-4db7-ac74-4377-2914f452a769
1/9/215:18 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.040                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi6c1e47-477b-7291-20ad-4ac2fef65d26
1/9/215:13 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Diskl.zip.039                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi3ce35c-50cb-7779-aa79-092c8494e9cb
1/9/215:06 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.038                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fialabfb-8f38-4088-f665-77cbeba0538c
1/9/215:02 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Diskl.zip.037                        Upload       A Administrator   pmaggio@sullivanstriclder.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fiefdc28-aa63-ffi3-5ec9-d8d6882935fa
1/9/21 4:56 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.035                        Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi4b9b66-7293-d226-0af9-9454b2df5159
1/9/214:51 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.034                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   ficdda68-bebf-106a-05cb-cd880901ffea
1/9/214:45 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.033                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi9e8473-230c-62d7-0969-a6e2874f2664
1/9/214:40 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Diskl.zip.032                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fic19453-aa8c-3207-bbas-3ed32190affd
1/9/214:34 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.031                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fif54c7e-3683-5c38-f083-9aef42bf1a03
1/9/214:29 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Diskl.zip.030                        Upload       A Administrator   pmaggio@sullivanstriclder.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fid43074-f807-b983-8e2d-c9328e3aaacf
1/9/214:22 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.029                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   ficf4884-a073-afe3-63bf-8fdda0f3576a
1/9/214:16 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.028                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi21ef90-756a-bddo-8978-5c704ab9f617
1/9/214:10 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.027                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fif98b79-olfs-3b67-ab68-797097bb7eb9
1/9/214:05 PM /Temp/55A1722/Coffee County Data/EMS Serner/EMS-Diskl.zip.026                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fiab654c-0784-b2de-376d-fc36c6c08ae3
1/9/214:00 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.025                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fib55904-772c-0bd9-b053-f96a89e06a17
1/9/213:55 PM /Temp/5541722/Coffee County Data/EMS Server/EMS-Diskl.zip.024                         Upload       A Administrator   pmaggio@sullivanstriclder.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi6f3c95-ad7d-5f23-3c9b-074686a97521
1/9/213:50 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.023                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi03745b-6a59-c69d-d831-39a767a3052a
1/9/213:44 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.022                         Upload       A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fiad4bc9-2c17-99d7-4e9d-1e96967c8f86




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1/9/213:39 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.021                         Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.2317.106    US, Middletown, New Jersey   fibd2435-f585-c24a-5a3d-6d25ded74481
1/9/213:33 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.020                         Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi51ab83-de43-3fab-1071-3d6f9e65d37b
1/9/213:27 PM /Ternp/5S41722/Coffee County Data/EMS Server/EMS-Diskl.zip.019                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   ficea7c3-d640-9199-1468-515ce6bdc33f
1/9/213:21 PM /Temp/SSA1722/Coffee County Data/EMS Server/EMS-Diskl.zip.018                         Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi b0d187-8d3a-a05d-2709-e4c766fallbl
1/9/213:16 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.017                         Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi0e9dcc-3b17-bboc-7f79-17d0fd393800
1/9/213:09 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.016                         Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.1.106   US, Middletown, New Jersey   fi 2df99b-2ede-4579-22c5-f9422e1e64b2
1/9/213:02 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.015                         Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi 2b2a18-clbc-e556-6f5b-0c6664f13439
1/9/21 2:57 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.014                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fia2f120-ed84-67f5-e64b-d62a4b047a8e
1/9/21 2:50 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Diskl.zip.013                       Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi37124c-293e-b304-2d6e-2777c0ddc889
1/9/21 2:43 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.012                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi469721-0da9-cba4-062b-410670d53421
1/9/21 2:37 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.011                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi8b2e6b-375a-4b56-d855-81bdf96f1aeb
1/9/21 2:32 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.010                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231./.106   US, Middletown, New Jersey   fi 7ea893-def5-c259-c6c5-5b36052675f1
1/9/21 2:26 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.009                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi36a689-488f-0e84-373d-e87bb2741654
1/9/21 2:20 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.008                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi 247fc5-aac6-eadc-dcb6-249a6bbbf6b5
1/9/21 2:13 PM /Ternp/5541722/Coffee County Data/EMS Server/EMS-Diskl.zip.007                       Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fia9df38-ed5f-9dld-92c8-dfe/887b55ac
1/9/21 2:06 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.006                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fif123a5-c9bl-ccc2-0d38-dd645bdac19e
1/9/21 1:58 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.005                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi278aae-1f63-2be7-cdae-00d2738d8a91
1/9/21 1:52 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.004                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231./.106   US, Middletown, New Jersey   fi9ddcf8-8 /f2-d27e-875a-e65ad741c3b4
1/9/21 1:47 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.003                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fif9242f-493c-7c10-a175-78bca587856f
1/9/21 1:42 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.002                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi3c6f31-adc7-8fbl-a7a3-b8aca5162c80
1/9/21 1:37 PM /Temp/5541722/Coffee County Data/EMS Server/EMS-Diskl.zip.001                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi3ed057-fla3-84de-064f-78543397d888
1/9/21 1:31 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Diskl.zip.047                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi 29f6fe-e461-701f-f228-9049cc2d4da7
1/9/21 1:26 PM /Temp/55A1722/Coffee County Data/EMS Server/EMS-Disk2.zip.047                        Upload          A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   fi bc981f-69a8-fbaf-d9b9-5b133723dedf
1/9/21 1:21 PM /Temp/55A1722/Coffee County Data/EMS Server                                          Create Folder   A Administrator   pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231./.106   US, Middletown, New Jersey   fo26d53b-13c4-4ad9-a23e-79455f7b1aea
1/9/21 1:21 PM /Temp/55A1722/Coffee County Data                                                     Create Folder   AAdministrator    pmaggio@sullivanstrickler.com   SullivanStrickler, LLC   12.231.7.106   US, Middletown, New Jersey   foaa6e50-d6c7-468c-bc73-fbc948dd289f




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                 Curling Plaintiffs' Exhibit 115, page 19 of 25
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                 Curling Plaintiffs' Exhibit 115, page 21 of 25
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                 Curling Plaintiffs' Exhibit 115, page 22 of 25
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                 Curling Plaintiffs' Exhibit 115, page 23 of 25
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                 Curling Plaintiffs' Exhibit 115, page 24 of 25
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